         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 1 of 86




Aidan M. McCormack (AMM 3017)
R. Brian Seibert (RS 1978)
DLA PIPER LLP (US)
1251 Avenue of the Americas
New York, New York 10020
(212) 335-4500
(212) 335-4501 (fax)
aidan.mccormack@dlapiper.com
brian.seibert@dlapiper.com
Attorneys for Plaintiff
Senior Health Insurance Company of Pennsylvania


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
SENIOR HEALTH INSURANCE COMPANY :
OF PENNSYLVANIA,
                                       :
               Plaintiff,
                                       :
       v.
                                       :          Case No.
BEECHWOOD RE LTD., B ASSET
MANAGER, L.P., BEECHWOOD BERMUDA :                COMPLAINT AND
INTERNATIONAL, LTD., BEECHWOOD RE                 DEMAND FOR TRIAL BY JURY
INVESTMENTS, LLC a/k/a BEECHWOOD       :
RE INVESTORS, LLC, ILLUMIN CAPITAL
MANAGEMENT, LP, MOSHE M. FEUER         :
a/k/a MARK FEUER, SCOTT A. TAYLOR,
DAVID I. LEVY, DHRUV NARAIN, and       :
JOHN DOES 1-10,
                                       :
               Defendants.
-------------------------------------- X

       Plaintiff Senior Health Insurance Company of Pennsylvania (“SHIP”) brings this action

against defendants Beechwood Re Ltd. (“Beechwood Re”), B Asset Manager, L.P. (“BAM”),

Beechwood Bermuda International, Ltd. (“BBIL”), Beechwood Re Investments, LLC a/k/a

Beechwood Re Investors, LLC (“BRILLC”), and Illumin Capital Management, LP (“Illumin”)

(collectively, the “Beechwood Advisors”) and their current and former owners, officers, and
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 2 of 86




insiders, Moshe M. Feuer a/k/a Mark Feuer, Scott A. Taylor, David I. Levy, Dhruv Narain

(collectively, the “Individual Defendants” and, with the Beechwood Advisors, “Beechwood” or

“Defendants”), and John Does 1-10.

                                 NATURE OF THE ACTION

       1.       This action arises from Beechwood’s deceit, intentional misconduct, and extreme

incompetence in the promotion and sale of investments to SHIP and in Beechwood’s subsequent

mismanagement and misuse of $320 million in policyholder reserves entrusted to it by SHIP

through and related to three Investment Management Agreements (the “IMAs”).

       2.       The IMAs guaranteed SHIP an annual return of 5.85 percent, based on what

Beechwood represented to be a conservative investment strategy that would be appropriate to

SHIP’s status as an insurer in run-off. Beechwood failed to deliver on the guaranteed returns and

also has failed to deliver all of SHIP’s investment principal back to it. Defendants failed to

deliver because, once they secured control over SHIP’s funds for investment, they jettisoned

their promises to invest safely and in SHIP’s best interest. Beechwood instead used SHIP’s

funds to prop up and perpetuate highly speculative, distressed, and fraudulently valued

investments that did not suit or benefit SHIP.

       3.       Beechwood also favored its own interests and the interests of undisclosed but

related third parties and affiliates who conspired with and effectively controlled Beechwood, all

to SHIP’s detriment. These related parties were associated with Platinum Partners, described in

more detail below. Many of the individuals who were granted improper access to, and who

benefited from the improper use of, SHIP’s funds ultimately were indicted in federal court for




                                                 2
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 3 of 86




their misdeeds. Defendant Levy and others are scheduled for criminal trial on January 7, 2019

for at least some of their Platinum-related actions.

       4.       As Beechwood pursued this scheme over a period of multiple years, it

consistently misled SHIP and presented financial reports that showed inflated and false

valuations for SHIP’s investments that concealed the misconduct and the portfolio’s true value.

Beechwood presented these inflated and false investment valuations in order to show inflated

and false investment returns. These false returns allowed Beechwood to claim and collect from

SHIP substantial advisory performance fees that it had not actually earned and that were only

recoverable under the IMAs after SHIP’s actual investment performance exceeded the

guaranteed 5.85 percent annual return.

       5.       Beechwood’s misconduct is particularly egregious in light of the fact that SHIP is

the solvent run-off of a diminishing closed block of primarily long-term care policies issued by

insurance companies that had been acquired by, or merged into, Conseco Senior Health

Insurance Company (as SHIP was then known) between 1997 and 2000. SHIP is owned by a

trust formed with the assistance and approval of the Pennsylvania Department of Insurance to

oversee the run-off. Any excess trust assets that remain after the payment of all insurance

liabilities ultimately inure to the benefit of a charity to be identified when SHIP’s business is

complete. Hence, SHIP operates without a profit motive and solely for the benefit of its

policyholders, who have purchased long-term care coverage to protect them when they are

elderly, in failing health, and at their most vulnerable.

       6.       Beechwood, primarily through statements by Feuer, Taylor, and Levy as well as

through written materials, represented to SHIP and to others that the Beechwood Advisors were


                                                  3
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 4 of 86




part of a large, well-capitalized reinsurance group formed by Feuer and Taylor through the use of

family money and other resources accumulated during successful careers as insurance and

investment professionals.

       7.       Initially formed in 2013, Beechwood Re was and is a reinsurer domiciled in

Grand Cayman and regulated by the Cayman Islands Monetary Authority (the “CIMA”). On

July 25, 2017, after this scheme ultimately was exposed, the CIMA placed Beechwood Re into

Controllership. BBIL, also formed in 2013, was licensed as an insurer located in Hamilton,

Bermuda and regulated by the Bermuda Monetary Authority. BAM was an investment entity

created and controlled by Beechwood Re and BBIL.              BRILLC guaranteed the promised

investment return under the BAM IMA. These entities all shared common and inter-related

ownership and control at all relevant times.

       8.       The Beechwood Advisors, through the Individual Defendants, collectively touted

themselves to reinsurers as the solution to shortages in reinsurance capacity for the life insurance

markets and claimed a particular expertise in underwriting certain markets, such as long-term

care, associated with specific asset risks and in providing flexibility for insurers seeking to

manage their balance sheets and risk profiles.

       9.       From their initial meetings and discussions onward, Beechwood consistently

represented to SHIP and others that Beechwood clients were strongly protected by an asset

management process that included compliance with pre-agreed investment guidelines, 24/7 client

access to portfolio information and independent valuation by a national firm, independent rating

by an SEC-approved and nationally recognized rating organization, and backing of investments




                                                 4
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 5 of 86




by hard assets and other tangible collateral. Beechwood also promoted its ability to generate

substantial and consistent returns based on the team’s significant investing experience.

       10.     Based on these oral and written representations and other available information,

SHIP believed Beechwood to be a legitimate and trustworthy enterprise. SHIP’s confidence in

Beechwood was bolstered by its knowledge that, in early 2014, Beechwood Re had entered into

regulator-approved reinsurance transactions with Bankers Conseco Life Insurance Company

(“BCLIC”) and Washington National Insurance Company (“WNIC”) (collectively, and as part of

the CNO Financial Group, or “CNO”). These transactions involved $550 million of statutory

reserves and approximately $40 million of other capital associated with closed blocks of long-

term care insurance that were underwritten by BCLIC and WNIC.

       11.     SHIP was aware of the BCLIC and WNIC reinsurance arrangements through

SHIP’s affiliate, Fuzion Analytics, LLC (“Fuzion”), which acts as a third-party policy and claims

administrator for policies of long-term care business issued by various insurers, including SHIP.

On February 1, 2014, Fuzion had entered into a Master Services Agreement with Beechwood Re

pursuant to which Fuzion agreed to administer the WNIC and BCLIC long-term care insurance

policies and certificates reinsured by Beechwood Re.

       12.     Given the distressed nature of SHIP’s book of business, Beechwood Re indicated

that it was unwilling to enter into a similar reinsurance arrangement with SHIP pursuant to which

Beechwood would, in essence, take SHIP’s reserves and then assume the financial obligation to

pay policy claims. Beechwood nevertheless advised SHIP that it could gain access to the same

kinds of allegedly high-quality, high-yield investments that supported the BCLIC and WNIC

agreements by entering into investment management agreements with the Beechwood Advisors.


                                                5
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 6 of 86




       13.    Beechwood represented to SHIP, including in an April 10, 2014 email and

attachment before any agreements were reached to invest, that Beechwood managed assets and

investments conservatively, with a “credit-focused investment strategy which focuses on capital

preservation,” that it had a strong culture of risk management and transparency, and that it used

best in class third party vendors. These representations persuaded SHIP that Beechwood would

be able to satisfy the performance guarantees that it was promising to SHIP.

       14.    Nothing could have been further from the truth.

       15.    In reality, the Beechwood Advisors and their related entities were formed as a

mechanism to funnel money into Platinum Partners, L.P. (“Platinum” or “Platinum Partners”), a

Manhattan-based hedge fund founded by Mark Nordlicht (“Nordlicht”), Murray Huberfeld

(“Huberfeld”), and David Bodner (“Bodner”) to prolong their existing Ponzi-like scheme.

       16.    Although SHIP did not know Platinum or understand its secretive relationship

with Beechwood, it appears that Platinum Partners falsely claimed that its funds averaged returns

of 17% from 2003 to 2015 and guaranteed its investors liquidity on notice of 60 to 90 days. That

performance was grossly overstated, as set forth in criminal complaints and indictments brought

against Huberfeld (U.S. v. Seabrook and Huberfeld, 16-CR-467 (S.D.N.Y.)) and Nordlicht,

Levy, and others (U.S. v. Nordlicht, et al., 16-CR-640 (E.D.N.Y.)) in December 2016

(collectively, the “Criminal Indictments”), as well as in the United States Securities and

Exchange Commission Complaint brought against certain Platinum entities, Levy, and others in

December 2016 (U.S. Sec. & Exch. Comm’n v. Platinum Management (NY) LLC, et al., 16-cv-

6848-BMC (E.D.N.Y.)) (the “SEC Complaint”). Huberfeld already has pled guilty to certain




                                                6
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 7 of 86




charges relating to Platinum activities, and many individuals remain under indictment and face

the prospect of criminal trials.

       17.     In truth, since at least 2012, Platinum Partners had been suffering severe liquidity

problems and needed constant cash infusions to prop up its funds and support redemptions.

Platinum Partners founders Nordlicht, Huberfeld, and Bodner could not attract investments

directly from institutional investors because of their history of criminal convictions and civil

liability. To overcome this obstacle, Platinum surreptitiously partnered with Feuer, Taylor, and

Levy (Huberfeld’s nephew) to form the Beechwood Advisors and their related entities and

devised a plan to secure access to the assets of insurers. The Beechwood Advisors entered into

investment management agreements and reinsurance treaties with insurance companies, took

control of insurance company assets, and then secretly funneled those assets to Platinum Partners

and related parties in the form of investments that were artificially and fraudulently valued. By

executing the IMAs, SHIP became one of the victims of this scheme.

       18.     In addition to Beechwood’s undisclosed role in propping up Platinum Partners,

Feuer, Taylor, and Levy personally profited from the artificial and fraudulent valuation of

Beechwood’s asset holdings. Beechwood’s compensation under the IMAs derived from its right

to retain annual investment returns that exceeded the 5.85% return guaranteed to SHIP. Because

Beechwood’s investments of SHIP’s funds were not in truth generating positive returns, no fees

were earned. Undaunted, Feuer, Taylor, and Levy, in concert with Platinum Partners and with

the aid of Beechwood’s paid advisors and consultants, submitted reports to SHIP, using the mails

and wires of interstate commerce, that contained inflated and false valuations purporting to show

that Beechwood’s investments, particularly its Platinum-related investments, were performing


                                                7
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 8 of 86




well and that SHIP’s invested funds and guaranteed returns were secure. These false reports

provided the necessary cover that permitted the Beechwood Advisors to reward themselves

fraudulently with commissions that had not in reality been earned. At the same time, SHIP’s

invested principal secretly was shrinking in value and remained exposed to undisclosed but

massive risk and uncertainty.

       19.    During the course of the relationship between Beechwood and SHIP, Narain and a

company he formed, Illumin, became involved in Beechwood’s performance under the IMAs

and in communicating directly with SHIP. Narain became involved no later than January 2016,

though it is possible he was involved earlier. Illumin was formed by Narain and possibly others,

as described in this Complaint. Narain and Illumin made many false representations and helped

advance the scheme and conspiracy to defraud SHIP. Narain is included in this Complaint’s

definition of “Individual Defendants,” Illumin is included in the definition of “Beechwood

Advisors,” and both are included in the definition of “Defendants.” These summary definitions,

however, are only intended to include Narain and Illumin with reference to the time periods

during which they were actually involved in Beechwood’s dealings relevant to SHIP.

       20.    SHIP was not told about Platinum’s close connections to and control over

Beechwood, and in any event Platinum’s financial distress remained a secret until the summer of

2016. Consistent with Beechwood’s undisclosed fraudulent enterprise with Platinum Partners

and its principals, and contrary to the representations made to SHIP as well as the obligations

accepted by the Beechwood Advisors under the IMAs, Beechwood used the funds entrusted to it

by SHIP to prop up and finance Platinum Partners’ fraudulent investment schemes. Beechwood

caused SHIP to exchange unburdened cash for distressed debt and equity interests in entities


                                               8
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 9 of 86




controlled by Platinum Partners that Beechwood understood, or was grossly negligent in failing

to understand, were excessively risky and unsuitable for an insurer, particularly for an entity in

run-off like SHIP. Beechwood further acted in bad faith by favoring its own investment interests

and those of its related parties and affiliates, all to the detriment of SHIP.

        21.     The scheme to defraud SHIP eventually began to unravel. On June 8, 2016,

Huberfeld was arrested and charged with bribing a union official to make a $20 million

investment in one of Platinum’s funds. Platinum’s deep connections to Beechwood, however,

remained undisclosed. On July 25, 2016, Platinum’s relationship with Beechwood was first

reported in the press. Over the course of the summer and fall of 2016, the Wall Street Journal

(“WSJ”) and other publications gradually exposed Beechwood’s ties to Platinum Partners.

Published sources uncovered and reported that Huberfeld and Nordlicht had used Beechwood to

attract institutional investors. According to a September 17, 2016 WSJ article, “[s]ince early

2014, Beechwood has put more than $200 million of client money in Platinum-linked

investments, according to public filings and people familiar with the matter.”

        22.     Despite these unfolding revelations, Beechwood refused to accept responsibility

and, just the opposite, continued to insist that it was performing in a manner consistent with its

obligations under the IMAs. For example, on the day after the July 25, 2016 WSJ article

indicating a relationship between Beechwood and Platinum, Beechwood sent a letter to SHIP

assuring it that SHIP’s assets were secure and that Beechwood maintained strong safeguards to

protect its client. The Individual Defendants similarly gave oral reassurances to SHIP in this

time period. Feuer’s July 26, 2016 letter falsely reassured SHIP that there was no reason to

believe that SHIP’s Platinum-related investments “suffered financial harm.” In July, August,


                                                   9
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 10 of 86




and September 2016, Feuer admitted in letters and published sources that Beechwood had not

revealed to SHIP or other clients the nature and extent of the firm’s investment ties to Platinum

or that Platinum-related parties had owned a significant portion of Beechwood Re and related

Beechwood entities.

       23.     Despite the slow revelation in the second half of 2016 of these Platinum

entanglements, Feuer and Beechwood continued to minimize and misstate the nature and extent

of those ties, and Feuer and others continued to insist that Beechwood’s investments – and

SHIP’s – were not materially harmed by Platinum’s problems. Feuer also repeatedly claimed,

orally and in writing, that Beechwood was severing ties with Platinum and that there was no

known negative effect to SHIP.

       24.     As a result of Defendants’ mismanagement and misuse of the more than $270

million in funds that SHIP entrusted to Beechwood for investment under false pretenses through

the IMAs, and another $50 million provided outside the IMAs, SHIP has sustained hundreds of

millions of dollars in economic injury from Beechwood’s Ponzi-like scheme. SHIP brings this

action to recover the losses it has sustained as a result of Beechwood’s misconduct, which

includes breaches of contract and fiduciary duty, bad faith, gross negligence, fraudulent

inducement and misrepresentations, and participation in a fraudulent scheme and racketeering

activity that has resulted in multiple criminal indictments.

                                            PARTIES

       25.     Plaintiff Senior Health Insurance Company of Pennsylvania is an insurance

company domiciled in the Commonwealth of Pennsylvania with its principal place of business in

Carmel, Indiana.


                                                 10
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 11 of 86




         26.      Defendant Beechwood Re Ltd. is a reinsurance company domiciled in the

Cayman Islands, which had offices in New York, New York at all relevant times.

         27.      Defendant B Asset Manager LP is a limited partnership domiciled in Delaware,

which had its principal place of business in New York, New York at all relevant times.

         28.      Defendant Beechwood Bermuda International, Ltd. is a reinsurance company

domiciled in Bermuda, which had offices in New York, New York at all relevant times.

         29.      Defendant Beechwood Re Investments, LLC is a limited liability company

domiciled in Delaware, which had its principal place of business in New York, New York at all

relevant times.

         30.      Defendant Illumin Capital Management, LP is a limited partnership formed in

Delaware, which had its principal place of business in New York, New York at all relevant

times.

         31.      Defendant Moshe M. Feuer a/k/a Mark Feuer is a resident of Lawrence, New

York.

         32.      Defendant Scott A. Taylor is a resident of New York, New York.

         33.      Defendant David I. Levy is a resident of New York, New York.

         34.      Defendant Dhruv Narain is a resident of Purchase, New York.

         35.      Upon information and belief, defendants John Does 1-10 are unnamed and

unknown individuals or entities who directly or indirectly acted in furtherance of and benefited

from Beechwood’s scheme of self-dealing, deceit, intentional misconduct, and extreme

mismanagement of SHIP’s funds and investments, all to SHIP’s detriment and harm. Any

references in this Complaint to the terms defined in the introductory paragraph or elsewhere,


                                                11
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 12 of 86




including “Beechwood” or “Defendants,” do not refer specifically to the Doe defendants unless

expressly noted otherwise. As set forth in this Complaint, the scheme and conspiracy at issue

necessarily involved additional individuals and entities. Their particular identities and roles

cannot currently be identified by SHIP, but are known to the Defendants identified in this

Complaint. These necessary additional actors facilitated the scheme and conspiracy and enjoyed

the benefits of favoring their interests over SHIP’s best interests.

                                 JURISDICTION AND VENUE

        36.     This Court has jurisdiction over this matter under 28 U.S.C. § 1331, 28 U.S.C. §

1332(a), and 18 U.S.C. § 1964.          The Beechwood Advisors likewise have consented to

jurisdiction in this district pursuant to Section 21 of the IMAs.

        37.     This Court likewise has supplemental jurisdiction over SHIP’s state law claims

under 28 U.S.C. § 1367, as the claims against Beechwood are related to claims upon which

original subject matter jurisdiction is based.

        38.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because a

substantial part of the events, actions, or omissions giving rise to the dispute occurred in this

district.

        39.     Venue is also proper in this Court pursuant to 28 U.S.C. §1391(c) because the

Beechwood Advisors have consented to venue in this district pursuant to Section 21 of the IMAs.

                                  FACTUAL BACKGROUND

        A.      SHIP

        40.     After sustaining significant and ongoing underwriting losses, SHIP stopped

writing new business in 2003 and began to work with the Pennsylvania Insurance Department to


                                                 12
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 13 of 86




develop a run-off strategy. In 2008, the ownership of SHIP was transferred from a wholly

owned subsidiary of Conseco, Inc. to the Senior Healthcare Trust, which was then merged into

the Senior Healthcare Oversight Trust (the “Oversight Trust”), and the company’s name was

changed to the “Senior Health Insurance Company of Pennsylvania.” The Trustees of the

Oversight Trust serve as SHIP’s Directors and are primarily former insurance regulators.

       41.     SHIP is responsible for funding the covered long-term care expenses of its elderly

policyholders. When all of SHIP’s policies and other obligations have been satisfied, proceeds

from the liquidation of SHIP, if any, will be disbursed by the Oversight Trust to a common law

trust, which at that time will select an ultimate beneficiary. This ultimate beneficiary must be one

or more charities that are focused on senior health issues.

       42.     Hence, although SHIP is organized as a “for profit” corporation, it is managed

solely for the benefit of its policyholders and without a profit motive. As SHIP is no longer

managed to earn a return on equity, SHIP’s policyholders are the primary beneficiaries of SHIP’s

statutory surplus (which equals the amount by which its assets exceed its obligations).

       43.     SHIP was introduced to Beechwood Re in late 2013. On February 1, 2014,

SHIP’s affiliate, Fuzion, entered into a Master Services Agreement with Beechwood Re pursuant

to which Fuzion agreed to administer the long-term care insurance policies that had been

reinsured with Beechwood Re by WNIC and BCLIC with the approval of their respective

regulators. Fuzion and SHIP share the same employees. Both WNIC and BCLIC had been

affiliates of SHIP prior to the transfer of SHIP’s ownership to the Oversight Trust.

       44.     Because SHIP is a solvent run-off that no longer writes new business, SHIP’s

access to capital and sources of income are limited to policyholder premiums and investment


                                                13
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 14 of 86




income. SHIP’s ability to preserve its asset base thus is essential. Further, while SHIP has at all

times been solvent and in possession of sufficient assets and reserves to run-off its business,

SHIP has continued to experience adverse loss experience, which has negatively affected its

surplus. If a U.S. domiciled insurance company’s surplus falls below a certain amount in

relation to its risk, its domestic regulators may exercise enforcement powers, including placing

the company into receivership and ordering liquidation.

       45.      In 2014 and 2015, Brian Wegner, SHIP’s then-President and CEO, Paul Lorentz,

SHIP’s then-CFO, and others met with and otherwise communicated with Feuer, Taylor, and

Levy electronically, by telephone, and in person to discuss SHIP’s unique status as a run-off

insurer and the particular challenges it faced with respect to its surplus. Feuer, Taylor, and Levy

advised SHIP that Beechwood Re was unable to enter into a reinsurance agreement with SHIP.

They proposed, however, to assist SHIP in improving its capital and surplus status by offering

SHIP the opportunity to participate in the same investments in which Beechwood Re invested the

reserves associated with the WNIC and BCLIC policies and certificates that were reinsured by

Beechwood Re.

       46.      Unbeknownst to SHIP and undisclosed by Defendants, these investments were

primarily investments in or involving Platinum Partners, an entity that at the time remained

unfamiliar to SHIP.    These investments also would favor the interests of Beechwood and

Platinum and their related parties to SHIP’s detriment, though SHIP could not have known this at

the time.




                                                14
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 15 of 86




       B.      Beechwood and Platinum Partners

       47.     The vast majority of the assets Platinum Partners managed was invested through

Platinum Partners Value Arbitrage Fund, L.P. (“PPVA”) and Platinum Partners Credit

Opportunities Master Fund, L.P. (“PPCO”), each of which itself was comprised of several feeder

funds (collectively, the “Platinum Entities”).

       48.     In 2013, co-conspirators Nordlicht, Huberfeld, Bodner, Levy, Feuer, and Taylor

formulated a scheme to create a new entity that would present the false appearance of being

unrelated to Nordlicht, Huberfeld, or Bodner in order the attract institutional investors that

Platinum itself could not attract directly.

       49.     The scheme resulted in the creation in 2013 of a new reinsurance company,

Beechwood Re, to lure institutional investors, such as insurers, into entrusting their funds to a

seemingly legitimate, independent insurance company. Once invested, however, those funds

were used to enrich the co-conspirators and aid in their fraudulent scheme. The co-conspirators

over time created several additional Beechwood-related entities to further their schemes.

       50.     Beechwood Re and related entities served as an artifice and vehicle for

perpetrating the co-conspirators’ racketeering activity and granted the co-conspirators control,

even though that control typically was heavily camouflaged. Nordlicht, Bodner, and Huberfeld

held significant ownership interests in Beechwood Re and related entities, along with Feuer,

Taylor, and Levy. Nordlicht, Bodner, Huberfeld, and Levy, and perhaps others, acquired much

of their ownership interests through nineteen family trusts that were given nondescript names to

disguise their identities and ownership interests. The trusts bore the generic names “Beechwood

Trust No. 1” through “Beechwood Trust No. 19.” The beneficiaries of the trusts were, in the


                                                 15
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 16 of 86




case of Nordlicht, Bodner, and Huberfeld, their respective children, and in the case of Levy,

himself.

        51.     Nordlicht, Huberfeld, and Bodner also acquired Beechwood Re’s preferred shares

using a company called Beechwood Re Investments, LLC (“Beechwood Investments”). The

managing member of Beechwood Investments was an entity controlled by Nordlicht called N

Management LLC, and its nine members were denominated as “Beechwood Re Investments,

LLC Series A” through “Beechwood Re Investments, LLC Series I” (each a “Beechwood

Series”). Each Beechwood Series, in turn, was beneficially owned by Nordlicht, Huberfeld,

Bodner, Levy, and their families. These complex and generically identified ownership structures

were designed to hide the Platinum connections and to support the story Beechwood’s principals

were telling.

        52.     Beechwood Re appears to have been capitalized in large part by an undisclosed

$100 million note from Beechwood Investments, an entity that had unknown financial strength to

support a note of that size. It is unclear whether the note was backed by any hard assets or

reliable collateral.

        53.     At the time of Beechwood Re’s formation, Feuer was its Chief Executive Officer

(“CEO”) , Taylor was its President, and Levy was its Chief Investment Officer (“CIO”).

        54.     BBIL appears to have had a similar ownership and control structure to

Beechwood Re, with Feuer as CEO and Taylor as President.

        55.     BAM served as the investment arm for Beechwood Re and BBIL. In 2014, Levy

served as BAM’s Chief Financial Officer and CIO. Until approximately June 2016, Nordlicht,

Levy, and two other Platinum-related associates apparently owned a majority interest in BAM.


                                              16
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 17 of 86




BRILLC, which guaranteed the investment return under the BAM IMA, likewise was controlled

by the Platinum-related parties.

         56.   Narain became part of the Beechwood management no later than January 2016.

Any ownership interests or control of Narain or the company he later formed, Illumin, with

regard to the Beechwood entities was not disclosed and is presently unknown to SHIP.

         C.    Defendants’ Misrepresentations to Induce SHIP to Enter Into the IMAs

         57.   On April 10, 2014, Taylor, on behalf of Beechwood and through the mails and

wires of interstate commerce, sent SHIP’s CEO Wegner an email, with copies to Levy and

Feuer.    The email attached documents that provided information concerning Beechwood’s

purported “asset management capabilities, strategies, and platform” and advised that

Beechwood’s “focus for SHIP will be in the Asset Backed Senior Secured Credit class of

investments.” Taylor noted in his April 10, 2014 email that those classes of investments were

“where we [Beechwood] are particularly strong, and can provide you [SHIP] some superior yield

on a risk adjusted basis.”

         58.   The April 10, 2014 email included a “Discussion Document” that summarized

Beechwood’s purported investment strategy and guidelines. The Discussion Document indicates

that, in investing assets, Beechwood: (a) employs a “[c]redit-focused investment strategy which

focuses on capital preservation”; (b) seeks “[s]uperior adjusted returns”; (c) has a “[s]trong

culture of risk management and transparency”; and (d) uses “[b]est in class third party vendors.”

         59.   The Discussion Document represents that “Capital Preservation is [Beechwood’s]

highest priority,” that “[r]isk management and capital preservation are central tenets of strategy,”

and that Beechwood pursues “strategies that focus on niche opportunities that provide low-


                                                17
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 18 of 86




volatility returns irrespective of the direction of broader markets.” The document states that the

“Basis of Beechwood’s Investment Strategy is Superior Risk Management Capabilities,” which

includes “[d]etailed analysis of underlying forms of collateral,” a “[f]ocus on appropriate deal

controls,” “active monitoring and due diligence,” and “third party controls, independent

valuation, compliance program.”

       60.     The Discussion Document indicates that Beechwood uses “[b]est in class third

party administration, audit, and valuation services.” It represents that Beechwood’s portfolio is

audited annually “by a top tier accounting firm with significant industry experience” and that

“Lincoln Valuation Group evaluates all valuations on a quarterly basis.”

       61.     The Discussion Document touts its management team as “[s]table and

experienced,” with a “[p]roven record of outperformance in various market environments.”

The document lists and provides biographies for four key members of the Beechwood team,

including Feuer, Taylor, and Levy. The biographies of Feuer and Taylor set forth their prior

experience with Marsh & McLennan and their respective prior experience with Merrill Lynch

and McKinsey & Company.

       62.     Feuer and Taylor also made other oral and written representations to SHIP that

promoted their experience with Marsh & McLennan and their respective prior experience with

Merrill Lynch and McKinsey & Company.

       63.     The entire sales pitch was a ruse.       Beechwood’s various oral and written

representations were untrue and misleading because they did not reflect Beechwood’s true

investment approach and scheme and did not account for the fact that Beechwood intended to

and would use SHIP’s assets to favor Beechwood, Platinum, and their related parties and


                                               18
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 19 of 86




affiliates. Defendants repeatedly misrepresented to SHIP that Beechwood was owned by Feuer

and Taylor, who portrayed themselves as upstanding professionals who capitalized Beechwood

with family money and the fortunes earned during their professional careers, along with funds

from a third principal, Levy.

       64.     During a series of meetings and communications in 2014, when SHIP was

evaluating Beechwood as a potential investment manager, Beechwood – primarily through

Feuer, Taylor, and Levy – consistently misrepresented Platinum employees as being senior

officers of Beechwood, without revealing that Platinum would control investment of SHIP’s

assets contributed under the IMAs or that Platinum and Beechwood related parties would enjoy

preferential treatment over SHIP’s interests.

       65.     Feuer attended a SHIP Board meeting on May 13, 2014 and presented

information on Beechwood, its experience in managing insurance business, and its plans for

reinsuring blocks of long-term care business. Again, he did not discuss Platinum’s significant

involvement in or control over Beechwood’s investing strategies. The presentation discussed

Beechwood’s strategy as an investment manager, but did not review any specific investments or

assets under management by Beechwood.

       66.     Levy led an oral and written presentation to SHIP officials, including Wegner and

Lorentz, at Beechwood’s New York office in the months prior to the IMAs being executed.

Levy reiterated Beechwood’s consistent themes of strong security and collateralization,

conservative approach, and a guaranteed return for SHIP.

       67.     Prior to entering into the IMAs or placing any assets with Beechwood for

investment management, SHIP was provided available Beechwood financial statements and


                                                19
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 20 of 86




other financial reporting that were purportedly provided by Beechwood’s independent auditor,

KPMG.       This information from Beechwood indicated that it possessed a strong balance sheet,

providing increased comfort to SHIP while considering Beechwood’s business proposals.

       68.      SHIP’s senior management also understood that CNO had vetted Beechwood in

connection with the 2013 reinsurance transactions between CNO and Beechwood and that both

the Indiana and New York Departments of Insurance had reviewed and approved the CNO-

Beechwood reinsurance transaction. CNO and the regulators apparently were not told about

Platinum’s involvement either, and CNO has sued Beechwood as well.

       69.      Over the course of several meetings and communications, Beechwood

consistently described to SHIP how Beechwood could provide attractive rates of return on equity

investments and loans and emphasized the security underlying its portfolio loans.

       70.      In its presentations to SHIP, Beechwood recommended a strategy of investing in

assets that were highly collateralized and well protected. Beechwood represented to SHIP that

the investments were over-secured by collateral that Beechwood could seize in the event that a

loan or other investment was not repaid, which would enable Beechwood to recover the value of

any investment.

       71.      Beechwood’s April 2014 Discussion Document also emphasized its relationships

with well-known third-party valuation firms, including Egan Jones, Lincoln Valuation Group,

and Duff & Phelps, and claimed to have “formal policies outlining all fair valuation practices and

methods.”

       72.      Unbeknownst to SHIP, Defendants’ representations were false, misleading, and

material, and Defendants knew, or they were at least grossly negligent in not knowing, that they


                                               20
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 21 of 86




were false, misleading, and material when they made them to SHIP in order to induce SHIP to

enter the IMAs and to turn over, in time, more than $270 million for investment.

        73.     Defendants concealed from SHIP in a fraudulent or at least grossly negligent

manner that they intended to place SHIP’s assets into investments that were highly speculative,

opaque, and not adequately secured. They also hid the reality that Beechwood intended, in

essence, to convert SHIP’s assets to the uses of Platinum and the individuals controlling

Beechwood and Platinum in a manner fundamentally inconsistent with the safe and conservative

portfolio they promised would result in a guaranteed return.

        74.     Defendants concealed from SHIP in a fraudulent or at least grossly negligent

manner that they intended to place SHIP’s assets in related-party transactions involving one or

more of the principals of the Beechwood Advisors or the Platinum entities and their associates.

        75.     Defendants concealed from SHIP in a fraudulent or at least grossly negligent

manner that they intended to place SHIP’s funds into high-risk investments without sufficient

collateralization, which enabled the Beechwood Advisors, in concert with the Individual

Defendants, to divert SHIP’s funds to Platinum-related entities without providing adequate

protections to enable SHIP to recover its invested funds and in violation of SHIP’s known

investment guidelines and restrictions.

        76.     Defendants concealed from SHIP in a fraudulent or at least grossly negligent

manner that Beechwood was materially owned and influenced by Nordlicht, Huberfeld, and

Bodner and that Beechwood had substantial and direct ties to Platinum and was effectively

controlled by it.




                                               21
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 22 of 86




       77.     Defendants concealed from SHIP in a fraudulent or at least grossly negligent

manner that, with only one apparent exception other than Feuer and Taylor, every purported

senior officer of Beechwood was actually an employee of Platinum.

       78.     As each of the three IMAs was successively executed, Defendants further

concealed their actions by, as set forth in this Complaint, providing false and misleading

information to SHIP regarding the nature of the investment strategy and the individual

investments, including fraudulent valuations. Beechwood thus created a false impression that the

investments made on SHIP’s behalf were performing well, which encouraged SHIP to invest

additional funds and discouraged SHIP from taking earlier actions to protect its funds that were

being manipulated and diminished in value by Beechwood’s schemes.

       79.     Based upon and in reliance on Defendants’ false and misleading representations

and the fraudulent or grossly negligent omission or concealment of material information, SHIP

entered into the IMAs to its detriment.

       80.     If SHIP had known that Beechwood’s representations were false and misleading

and that Defendants had omitted and concealed material facts about Defendants’ investment

opportunities and structure in a fraudulent or at least grossly negligent manner, SHIP never

would have entered into the IMAs.

       E.      The Investment Management Agreements

       81.     SHIP entered into three Investment Management Agreements with the

Beechwood Advisors. All three IMAs contain the same basic structure, with a few minor

exceptions that do not materially change the nature of Beechwood’s breaches or

misrepresentations. The substance of the IMAs is incorporated into this Complaint by reference.


                                              22
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 23 of 86




The IMAs all were controlled by the Individual Defendants and their related parties in essentially

the same manner, even though the individual agreements had different contractual

counterparties. A primary reason for using different counterparties, ironically in retrospect, was

that this diversification should further protect SHIP’s invested funds. SHIP also was subject to

investment guidelines limiting investment concentration.        SHIP further understood from

Beechwood prior to executing the IMAs that Beechwood was managing assets that were

achieving returns well in excess of the IMA guaranteed returns, which guarantees were

considered additional protection for SHIP. Each of the IMAs granted Beechwood discretion

over the specific investments made.

               i.     The BBIL IMA

       82.     The first IMA between SHIP and BBIL for the provision of                investment

management and advisory services was executed as of May 22, 2014 (the “BBIL IMA”).

       83.     The BBIL IMA is governed by New York law. BBIL IMA, ¶ 20.

       84.     Pursuant to the BBIL IMA, SHIP ultimately deposited a total of $80 million into a

custody account at Wilmington Trust for investment by Beechwood on SHIP’s behalf.

       85.     The BBIL IMA appointed BBIL as SHIP’s investment adviser and manager to

invest and manage the funds on behalf of SHIP and “subject at all times to the fiduciary duties

imposed upon it by reason of its appointment to invest and manage the Assets.” BBIL IMA, ¶ 1.

       86.     BBIL contractually guaranteed an annual investment return to SHIP equal to

5.85% (non-compounded) of the net asset value of the assets contributed to the account. This

guaranteed payment would then be automatically reinvested in the custody account to be




                                               23
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 24 of 86




managed by BBIL, BBIL IMA, Exhibit B at ¶ 3, which effectively makes the guaranteed annual

return “compounded.”

       87.     In the event that SHIP’s investments under the BBIL IMA did not achieve an

annual Investment Return of 5.85%, BBIL was obligated to “(i) pay the Client [SHIP] any

Investment Return shortfall from its own account and (ii) as necessary, contribute assets to the

Account from its own account such that the net asset value of the Account equals the Initial

NAV.” BBIL IMA, Exhibit B at ¶ 3. This “True-Up Payment” provision effectively required

BBIL to pay the guaranteed investment return and maintain the asset base, whether the

investments performed as BBIL represented they would or not.

       88.     The BBIL IMA permitted BBIL to retain investment returns above the 5.85%

guaranteed Investment Return as a Performance Fee. BBIL IMA, Exhibit B at ¶ 1.

       89.     From September 2015 to July 2016, BBIL withdrew from the Wilmington Trust

account at least $12,343,891 of SHIP’s funds in performance fees, according to the records

available to SHIP, and the actual amount could be higher. Because these performance fees had

not in fact been earned, Defendants paid themselves out of SHIP’s invested principal and not out

of excess earnings.

       90.     Pursuant to the terms of the BBIL IMA, BBIL was required to “use all proper and

professional skill, diligence and care at all times in the performance of its duties and the exercise

of its powers” under the agreement. BBIL IMA, ¶ 1.

       91.     Pursuant to the terms of the BBIL IMA, BBIL promised to make all investment

decisions and to manage SHIP’s invested funds “consistent with the general investment policy,

guidelines and restrictions” of BBIL for Senior Secured Credit Opportunities and to invest in


                                                 24
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 25 of 86




classes of admitted assets subject to SHIP’s corporate investment guidelines. BBIL IMA, ¶ 3(b)

and Exhibit A.

       92.       The referenced Exhibit A to the BBIL IMA contains BBIL’s “Adviser Investment

Policy, Guidelines and Restrictions” and “Guidelines for Senior Secured Credit Opportunities.”

BBIL’s investment document specifies that it must invest in a manner permitted by “SHIP’s

corporate investment guidelines ‘Senior Health Insurance Company of Pennsylvania: Investment

Objectives, Policies and Guidelines, Version 1.6’” (“SHIP’s Investment Policies”).

       93.       SHIP’s Investment Policies begin by emphasizing that “[c]ognizant of the

fiduciary character of the insurance business, [SHIP] seeks to achieve investment returns

commensurate with the protection of invested capital while minimizing the risk of impairment of

investment assets to provide financial stability for its policy holders.”        SHIP’s “general

investment objective” was specified to be “to seek current income consistent with the

preservation of capital and prudent investment risk. Long-term growth is an important secondary

consideration.”

       94.       As Beechwood fully understood, SHIP’s Investment Policies at the time required,

among other things, that “[a]ssets invested to support run-off long term care obligations will

have liquidity, risk and maturity characteristics appropriate to such policies and will be invested

in such a manner as to meet policyholder obligations while providing a reasonable return.”

       95.       BBIL’s own investment guidelines likewise required, among other things, that

BBIL would “engage in transactions in which there is a well-known and understood

counterparty risk, and liquid/valuable collateral to secure any such loan. Controls are always in




                                                25
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 26 of 86




place to secure the movements of cash and proceeds such that Beechwood always has a first

right to monies.” BBIL IMA, Exhibit A (emphasis added).

         96.    BBIL failed to comply with both its own investment guidelines and SHIP’s

Investment Policies. Rather, BBIL, together with the Individual Defendants, utilized the BBIL

IMA to take control over SHIP’s assets and to deploy those assets to benefit Platinum, thereby

enriching the Individual Defendants as well as Platinum’s and Beechwood’s owners and related

parties, at the expense of SHIP. Beechwood did so without SHIP’s knowledge of or consent to

the risky and hopelessly conflicted relationship with Platinum that led to inappropriate

investments.

         97.    During performance under the IMA, BBIL compounded the damage to SHIP by

falsely overstating the value of the assets under management in the BBIL IMA account to justify

its retention of Performance Fees to which it would not otherwise be entitled as well as to extend

the duration of the scheme and magnify the losses.

                ii.    The Beechwood Re IMA

         98.    The second IMA for the provision of investment management and advisory

services was between SHIP and Beechwood Re and was executed as of June 13, 2014 (the “BRe

IMA”).

         99.    The BRe IMA is governed by New York law. BRe IMA, ¶ 20.

         100.   In connection with the BRe IMA, SHIP ultimately deposited a total of $80 million

into a custody account at Wilmington Trust for investment by Beechwood Re on SHIP’s behalf.

This amount was in addition to the previously described $80 million invested pursuant to the

BBIL IMA.


                                               26
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 27 of 86




       101.   Similar to the BBIL IMA, the BRe IMA appointed Beechwood Re as an

investment adviser and manager to invest and manage the funds on behalf of SHIP and subject at

all times to fiduciary duties. Beechwood Re agreed to “use all proper and professional skill,

diligence and care at all times in the performance of its duties and the exercise of its powers

under this Agreement.” BRe IMA, ¶ 1.

       102.   Beechwood Re contractually guaranteed an annual investment return to SHIP

equal to 5.85% (non-compounded) of the net asset value of the assets contributed to the account.

This guaranteed payment would then be automatically reinvested in the custody account to be

managed by Beechwood Re on SHIP’s behalf, which again effectively makes the guaranteed

annual return “compounded.” BRe IMA, ¶ 1(b) and Exhibit B at ¶ 3.

       103.   In the event that SHIP’s investments under the BRe IMA did not achieve an

annual Investment Return of 5.85%, Beechwood Re was obligated to “(i) pay the Client [SHIP]

any Investment Return shortfall from its own account and (ii) as necessary, contribute assets to

the Account from its own account such that the net asset value of the Account equals the Initial

NAV.” BRe IMA, Exhibit B at ¶ 3. This “True-Up Payment” provision effectively required

BBIL to pay the guaranteed investment return and maintain the asset base, whether the

investments performed as BBIL represented they would or not.

       104.   The BRe IMA permitted Beechwood Re to retain investment returns above the

5.85% guaranteed Investment Return as a Performance Fee. BRe IMA, Exhibit B at ¶ 1.

       105.   From September 2014 to April 2016, Beechwood Re withdrew from the

Wilmington Trust account at least $10,275,000 of SHIP’s funds in performance fees, according

to the records available to SHIP, and the actual amount could be higher.         Because these


                                              27
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 28 of 86




performance fees had not in fact been earned, Defendants paid themselves out of SHIP’s

invested principal and not out of excess earnings.

       106.    Pursuant to the terms of the BRe IMA, Beechwood Re was required to “use all

proper and professional skill, diligence and care at all times in the performance of its duties and

the exercise of its powers” under the agreement. BRe IMA, ¶ 1.

       107.    Pursuant to the terms of the BRe IMA, Beechwood Re promised to make all

investment decisions and to manage SHIP’s invested funds “consistent with the general

investment policy, guidelines and restrictions” of BBIL for Senior Secured Credit Opportunities

and to invest in classes of admitted assets subject to SHIP’s corporate investment guidelines.

BRe IMA, ¶ 3(b) and Exhibit A.

       108.    The referenced Exhibit A to the BRe IMA contains Beechwood Re’s “Adviser

Investment Policy, Guidelines and Restrictions” and “Guidelines for Senior Secured Credit

Opportunities.” Beechwood Re’s investment document specifies that it must invest in a manner

permitted by “SHIP’s corporate investment guidelines ‘Senior Health Insurance Company of

Pennsylvania: Investment Objectives, Policies and Guidelines, Version 1.6’” (“SHIP’s

Investment Policies”).

       109.    SHIP’s Investment Policies begin by emphasizing that “[c]ognizant of the

fiduciary character of the insurance business, [SHIP] seeks to achieve investment returns

commensurate with the protection of invested capital while minimizing the risk of impairment of

investment assets to provide financial stability for its policy holders.”        SHIP’s “general

investment objective” was specified to be “to seek current income consistent with the




                                                28
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 29 of 86




preservation of capital and prudent investment risk. Long-term growth is an important secondary

consideration.”

       110.    As Beechwood fully understood, SHIP’s Investment Policies at the time required,

among other things, that “[a]ssets invested to support run-off long term care obligations will

have liquidity, risk and maturity characteristics appropriate to such policies and will be invested

in such a manner as to meet policyholder obligations while providing a reasonable return.”

       111.    Beechwood Re’s own investment guidelines likewise required, among other

things, that Beechwood Re would “engage in transactions in which there is a well-known and

understood counterparty risk, and liquid/valuable collateral to secure any such loan. Controls

are always in place to secure the movements of cash and proceeds such that Beechwood

always has a first right to monies.” BRe IMA, Exhibit A (emphasis added).

       112.    Beechwood Re failed to comply with both its own investment guidelines and

SHIP’s Investment Policies. Rather, Beechwood Re, together with the Individual Defendants,

utilized the BRe IMA to take control over SHIP’s assets and to deploy those assets to benefit

Platinum, thereby enriching the Individual Defendants as well as Platinum’s and Beechwood’s

owners and related parties, at the expense of SHIP.         Beechwood did so without SHIP’s

knowledge of or consent to the risky and hopelessly conflicted relationship with Platinum that

led to inappropriate investments.

       113.    During performance under the IMA, Beechwood Re compounded the damage to

SHIP by falsely overstating the value of the assets under management in the BRe IMA account

to justify its retention of Performance Fees to which it would not otherwise be entitled as well as

to extend the duration of the scheme and magnify the losses.


                                                29
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 30 of 86




               iii.   The BAM IMA and Side Letter

        114.   The third IMA for the provision of investment management and advisory services

was between SHIP and BAM and was executed as of January 15, 2015 (the “BAM IMA”).

        115.   The BAM IMA is governed by New York law. BAM IMA, ¶ 20.

        116.   Contemporaneous with execution of the BAM IMA, in January 2015, SHIP

deposited an initial $50 million into a custody account at Wilmington Trust to be invested and

managed by BAM, subject to investment guidelines prescribed by the IMAs and the insurance

laws of Pennsylvania. Subsequently, in March 2015, SHIP deposited an additional $60 million

into the same account and subject to the same investment guidelines and legal limitations, for a

total investment of $110 million to be managed by BAM under the BAM IMA. This $110

million was in addition to the $160 million invested with Beechwood pursuant to the other two

IMAs.

        117.   Similar to the other two IMAs, the BAM IMA appointed BAM as an investment

adviser and manager to invest and manage the funds on behalf of SHIP and subject at all times to

fiduciary duties. BAM agreed to “use all proper and professional skill, diligence and care at all

times in the performance of its duties and the exercise of its powers under this Agreement.”

BAM IMA, ¶ 1.

        118.   The language of the BAM IMA itself differed from the BBIL IMA and BRe IMA

in that it did not expressly guarantee a specific investment return. SHIP, however, entered into a

side letter with BRILLC, which was commonly controlled along with the other Beechwood

Advisors, and in the side letter BRILLC guaranteed an annual investment return of 5.85% (non-

compounded) of the net asset value of the assets contributed by SHIP under the BAM IMA (the


                                               30
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 31 of 86




“Side Letter”).   The purpose of the Side Letter was to “provide to Client [SHIP] certain

assurances as relates to the performance of the investments managed under the IMA.”

Beechwood explained to SHIP that BRILLC’s involvement provided additional capital support

to BAM. The guaranteed payment would be automatically reinvested in the custody account to

be managed by BAM on SHIP’s behalf, which effectively makes the guaranteed annual return

“compounded.” Side Letter at 1.

       119.    The method of calculating BAM’s Performance Fee was slightly different under

the BAM IMA as compared with the other two IMAs. Pursuant to Exhibit B to the BAM IMA,

BAM’s Performance Fee was to be the greater of the following:

       (1) 1% of the net asset value of the Assets in the Account as of the last day of
       each measuring Year, or (2) 100% of the cash value reflected in the Net Profit
       Yield (as defined below). For purposes hereof, (a) “Net Profit Yield” shall be
       defined as the Total Portfolio Yield (as defined below) minus 5.85% and (b)
       “Total Portfolio Yield” shall be defined as the investment return (based on both
       realized and unrealized trading profit) on the Account for each respective
       measuring Year….”)

BAM IMA, Exhibit B at ¶ 1.

       120.    The BAM IMA still anticipated an annual 5.85% guaranteed return to SHIP,

through the Side Letter, and the excess over that amount would go to BAM. If a return of less

than 5.85% was achieved, however, BAM would receive 1% of the net asset value, a feature not

included in the other two IMAs. The Side Letter likewise promised a “True-Up Payment” in the

event of any shortfall in the annual return, and this mechanism was designed to work in a manner

similar to the provision in the other IMAs.

       121.    From March 2015 to June 2016, BAM withdrew from the Wilmington Trust

account at least $10,950,000 from SHIP in performance fees, according to the records available


                                              31
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 32 of 86




to SHIP, and the actual amount could be higher. Because these performance fees had not in fact

been earned, Defendants paid themselves out of SHIP’s invested principal and not out of excess

earnings.

        122.       Pursuant to the terms of the BAM IMA, BAM was required to “use all proper and

professional skill, diligence and care at all times in the performance of its duties and the exercise

of its powers under this Agreement.” BAM IMA, ¶ 1.

        123.       Pursuant to the terms of the BAM IMA, BAM promised to make all investment

decisions and to manage SHIP’s assets “consistent and compliant with . . . the general investment

policy, guidelines and restrictions as described on Exhibit A.” BAM IMA, ¶ 3(b).

        124.       The referenced Exhibit A to the BAM IMA contains BAM’s “Adviser Investment

Policy, Guidelines and Restrictions.” BAM’s investment document specifies that it must invest

in a manner permitted by “SHIP’s corporate investment guidelines ‘Senior Health Insurance

Company of Pennsylvania: Investment Objectives, Policies and Guidelines, Version 1.7’”

(“SHIP’s Investment Policies, Version 1.7”), which document was materially consistent with the

earlier version.

        125.       SHIP’s Investment Policies, Version 1.7 begins by emphasizing that “[c]ognizant

of the fiduciary character of the insurance business, [SHIP] seeks to achieve investment returns

commensurate with the protection of invested capital while minimizing the risk of impairment of

investment assets to provide financial stability for its policy holders.”          SHIP’s “general

investment objective” was specified to be “to seek current income consistent with the

preservation of capital and prudent investment risk. Long-term growth is an important secondary

consideration.”


                                                  32
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 33 of 86




       126.    As Beechwood fully understood, SHIP’s Investment Policies, Version 1.7 in place

at the time required, among other things, that “[a]ssets invested to support run-off long term care

obligations will have liquidity, risk and maturity characteristics appropriate to such policies and

will be invested in such a manner as to meet policyholder obligations while providing a

reasonable return.”

       127.    BAM and BRILLC failed to comply with SHIP’s investment policy. Rather,

BAM and BRILLC, together with the Individual Defendants, utilized the BAM IMA and

BRILLC Side Letter to take control over SHIP’s assets and to deploy those assets to benefit

Platinum, thereby enriching the Individual Defendants as well as Platinum’s and Beechwood’s

owners and related parties, at the expense of SHIP.         Beechwood did so without SHIP’s

knowledge of or consent to the risky and hopelessly conflicted relationship with Platinum that

led to inappropriate investments.

       128.    During performance under the IMA, BAM and BRILLC compounded the damage

to SHIP by falsely overstating the value of the assets under management in the BAM IMA

account to justify its retention of Performance Fees to which it would not otherwise be entitled as

well as to extend the duration of the scheme and magnify the losses.

       F.      Beechwood’s Failed and Fraudulent Performance

       129.    SHIP entrusted $270 million to the Beechwood Advisors to invest prudently,

conservatively, and in accordance with the terms of the three IMAs and another $50 million was

entrusted outside the IMAs. SHIP relied on the material misrepresentations and omissions by the

Beechwood Advisors and the Individual Defendants who controlled the Beechwood Advisors’

activities in deciding to entrust Beechwood with the investment of funds that SHIP held as


                                                33
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 34 of 86




reserves to pay policyholder claims. Notwithstanding the representations made about their

investment protocols, disciplines, and security, not to mention guaranteed returns, to induce

SHIP to enter into the IMAs and to invest both the IMA funds and additional funds through

them, and contrary to the promises made in the IMAs and in violation of the fiduciary duties

owed to SHIP, the Beechwood Advisors placed SHIP’s money into investments that were highly

speculative, not adequately secured, opaque, and not appropriately disclosed to SHIP. Many of

the Beechwood investments are invested in related-party transactions involving one or more of

the principals of the Beechwood Advisors or the Platinum entities.

       130.    Rather than adhering to their representations and promises made in the IMAs and

otherwise, the Beechwood Advisors, in concert with the Individual Defendants, used most of the

SHIP funds entrusted to them to acquire high-risk, complex, inadequately collateralized, and

often distressed investments tied to Platinum that were purposely structured by Beechwood, the

Individual Defendants, and the co-conspirators to enrich themselves and their related parties at

the expense of investors like SHIP.

       131.    For example, Beechwood invested SHIP’s money in direct and indirect interests

in numerous loans that had been made by Platinum-related entities, including PPCO and PPVA.

Far removed from the safe, well-vetted, well-collateralized middle market credit transactions that

SHIP expected, based on Beechwood’s representations, the Platinum-related loans were high-

risk investments that had been made to entities pursuing highly speculative ventures. The loans

carried artificially high interest rates and were subject to fees and upfront payments that were not

reasonably supported by the financial condition or outlook of the obligors. Beechwood, the

Individual Defendants, and the co-conspirators knew, or were grossly negligent in not knowing,


                                                34
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 35 of 86




when they structured these loan investments that a high probability existed that the obligors

would default and would fail to repay the principal. When they purchased these investments on

SHIP’s behalf, typically from PPCO, PPVA, or an entity managed by or related to Beechwood,

the Individual Defendants knew, or were grossly negligent in not knowing, that the investments

were severely distressed, defaulting, or about to default. Indeed, Platinum was able to perpetuate

these investments and prolong its scheme only so long as Beechwood attracted new investors or

diverted funds from existing investors to structure and restructure the investments and thereby

continued to use them to funnel cash, fees, and payments to Beechwood, the Individual

Defendants, Platinum, and the related parties and co-conspirators.

       132.    To avoid detection of these practices and to justify their claims to Performance

Fees under the IMAs, which only were recoverable if the annual return exceeded the 5.85%

guaranteed to SHIP, Defendants, other purported employees of Beechwood, and Beechwood’s

paid advisors and consultants submitted reports that contained inflated, and in some cases

entirely falsified, valuations that purported to show that the Platinum-related investments were

performing well and that SHIP’s investments were sound.

       133.    Beechwood provided reports to SHIP on a quarterly basis that included an

overview of the investments that Beechwood managed on SHIP’s behalf. These reports did not

accurately or adequately disclose the profound involvement and conflicted entanglements of

Platinum Partners or other Platinum-affiliated entities in the investments or that many of the

investments were severely distressed, defaulting, or nearly defaulting at the time of the reports

and were likely to default prior to repayment of principal. SHIP relied on Beechwood as its




                                               35
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 36 of 86




investment manager and fiduciary to provide accurate information regarding the assets under

management and to disclose fully any potential conflicts of interest or related-party transactions.

       134.    Beechwood also provided monthly valuation reports to SHIP that purported to

show the value of the assets under management. The monthly reports included Beechwood’s

valuations of the investments under management, but did not include detailed information

regarding the full nature of and parties involved in the Beechwood investments.

       135.    Although SHIP did not know it at the time, the values in these monthly reports

also were largely inflated or falsified and did not reflect accurate representations regarding

SHIP’s assets under Defendants’ control. SHIP relied on Beechwood as its investment manager

to provide the company with accurate information.

       136.    By way of example, on April 20, 2015, Elliot Feit of Beechwood, through the

mails and wires of interstate commerce, sent Paul Lorentz, SHIP’s then-Chief Financial Officer,

an April 9, 2015 Duff & Phelps Report, which SHIP later learned significantly overvalued at

least two assets in which Beechwood invested SHIP funds:             Montsant Partners LLC and

MYSYRL Capital LLC.

       137.    Although Beechwood claimed to use “independent valuation” based on “fair

valuation practices and methods,” SHIP later learned that no such independent valuation was

ever conducted, as Beechwood controlled all information provided to its third-party valuation

consultants, and the valuation consultants provided disclaimers and did not attempt to verify the

accuracy or completeness of any information provided regarding the value of investments

managed by Beechwood. This enabled Beechwood to provide an air of legitimacy to its inflated

valuations by essentially laundering them through a third party.


                                                36
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 37 of 86




       138.     Beechwood used these inflated valuation reports to support the various and

multiple withdrawals over time of “Performance Fees” under the IMAs, even though such fees

had not truly been earned.

       139.     Beechwood also entered into transactions that placed its interests and those of

Platinum or Platinum-related individuals ahead of SHIP’s, in breach of the IMAs, the fiduciary

duties, and the representations Beechwood had made in seeking to induce SHIP’s investments.

For example, in addition to using SHIP funds to acquire high-risk and over-valued investments

that had been owned or structured by Platinum, Beechwood caused SHIP to invest nearly $40

million directly in certain Platinum funds, including PPCO and PPVA. This was particularly

harmful to SHIP, because the same high-risk investments, with their false and inflated values, in

which SHIP became invested directly, also represented a significant percentage of the PPCO and

PPVA portfolios. SHIP thus was victimized through double exposure to Platinum’s problems.

       i.       Montsant Partners LLC

       140.     BAM’s investment in Montsant Partners, LLC (“Montsant”) illustrates the

Beechwood Advisors’ misuse of SHIP’s assets to enrich Platinum-controlled entities to SHIP’s

detriment. Montsant is a Delaware limited liability company that is wholly owned by PPVA.

Michael Nordlicht, Montsant’s managing member, is the nephew of Mark Nordlicht, one of the

founders of the Platinum fund complex.

       141.     On January 30, 2015, at BAM’s sole direction and just two weeks after the BAM

IMA was executed, funds deposited in the BAM IMA account were used to acquire, on SHIP’s

behalf, an unsecured term note issued by Montsant in the principal amount of $35,500,000.




                                               37
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 38 of 86




       142.   Daniel Saks of BAM signed the January 30, 2015 Montsant Note Purchase

Agreement (the “Montsant NPA”) on behalf of SHIP as its investment manager. Saks also

signed the Montsant NPA on behalf of BAM Administrative Services, LLC.

       143.   The Montsant NPA, which was not provided to SHIP before BAM made the

investment on SHIP’s behalf, specifies that Montsant “shall use the proceeds of the sale of the

Notes to disburse to its parent company, PPVA.” In other words, BAM took $35,500,000 of

SHIP’s funds and handed these funds directly into Platinum’s control by way of the Montsant

NPA.

       144.   The Montsant NPA also contained a post-closing collateralization requirement.

Between January 30, 2015 and April 16, 2015, the NPA was amended nine times to extend the

date for the required collateralization. Ultimately, Montsant purported to pledge a small amount

of collateral that appears to have lacked any monetary value even remotely commensurate with

Montsant’s debt obligation. Further, in a complex and arcane structure typical of those used by

Beechwood, this collateral simultaneously served as collateral for the debt to be collected under

two other defaulted investments in which Beechwood had invested SHIP policy reserves.

       145.   BAM’s use of SHIP’s assets to enrich Platinum through the Montsant investment

constitutes a breach of the BAM IMA, including the implied covenant of good faith and fair

dealing, and of the fiduciary duties owed by each of the Defendants to SHIP, and evidences

Beechwood’s concerted efforts to defraud SHIP by using SHIP’s assets to enrich and benefit

themselves and Platinum to SHIP’s deliberate detriment, all in furtherance of the common

scheme.




                                               38
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 39 of 86




       ii.     PEDEVCO Corp.

       146.    In addition to direct investments in Platinum or Platinum-related investments,

SHIP’s funds were used to salvage and perpetuate highly speculative, poorly performing

investments structured by Beechwood, the Individual Defendants, and the co-conspirators. For

example, at BAM’s sole direction, funds deposited in the BAM IMA account were used to

acquire, on SHIP’s behalf, debt interests in an entity known as PEDEVCO Corp. (“PEDEVCO”),

as described below. BAM used SHIP’s funds to purchase, at par value, highly risky distressed

debt that PEDEVCO originally had issued to Beechwood-related entities, and then attempted to

alter and subordinate SHIP’s interests so that the Beechwood-related entities would be preferred

over SHIP in the likely event that PEDEVCO defaulted on its obligations.

       147.    PEDEVCO’s primary business activity was the acquisition, exploration,

development, and production of oil and natural gas shale in the United States, with a secondary

focus on conventional oil and gas investments. As such, PEDEVCO was a highly speculative

business carrying a high degree of risk, because the success of its business depended not only on

its ability to find and extract these natural resources but also on whatever the prevailing prices of

oil and natural gas were at the time of extraction. Under the best of circumstances, PEDEVCO

would be an entirely unsuitable investment for SHIP, even without the favoritism shown to other

interests over SHIP’s, because an investment of this type typically lacks early positive cash flow

and liquidity. At the time that BAM forced SHIP into PEDEVCO, however, circumstances were

particularly grim for the oil and gas industry, as oil and natural gas prices were rapidly declining.

Notwithstanding the price decline and its negative effect on PEDEVCO’s value and




                                                 39
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 40 of 86




creditworthiness, BAM exercised its complete discretion under the IMA and used BAM IMA

funds contributed by SHIP to purchase a portion of the Beechwood investment at full par value.

       148.    Specifically, on or about March 7, 2014, PEDEVCO had entered into a senior

debt facility with five Beechwood investors, including BRE BCLIC Primary Trust (“BCLIC

Primary”), an entity that had loaned PEDEVCO $11,800,000. The loan from BCLIC Primary

was evidenced by a Senior Secured Promissory Notice issued by PEDEVCO on March 7, 2014

(the “2014 Pedevco Note”).

       149.    On or about October 7, 2014, BCLIC Primary entered into a Participation

Agreement with BBIL pursuant to which BBIL acquired a $2,433,383.06 participation interest in

the 2014 Pedevco Note (the “BBIL Participation Interest”), reducing BCLIC Primary’s

investment by that amount.

       150.    The prices of oil and natural gas declined by 50% between March 2014 and April

2015. As a result, PEDEVCO’s financial condition had deteriorated and the likelihood of

repayment of the 2014 PEDEVCO Note was low. Despite this perilous condition, in April 2015

BAM purchased, on SHIP’s behalf, the 2014 PEDEVCO Note (which was subject to the BBIL

Participation Interest) from BCLIC Primary.         SHIP’s purchase was made pursuant to an

Assignment Agreement, dated April 16, 2015, between BCLIC Primary and SHIP.

       151.    After using SHIP’s funds to rescue BCLIC Primary from this poor investment and

dumping it on SHIP, BAM doubled down on the harm to SHIP by restructuring PEDEVCO’s

debt (including the 2014 PEDEVCO Note) in 2016 to assure that Beechwood entities would be

repaid in full with interest, charges, and fees, ahead of and to the detriment of other investors,

including SHIP.


                                               40
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 41 of 86




       152.    The price of oil and the price of natural gas continued to decline, and by the

beginning of May 2016 PEDEVCO needed more financing. In May 2016, Beechwood arranged

to have two of its related entities, BBLN-PEDCO Corp., a Delaware corporation (“BBLN”) and

BHLN-PEDCO Corp., a Delaware corporation (“BHLN”), provide additional financing to

PEDEVCO pursuant to the terms of an Amended and Restated Note Purchase Agreement dated

as of May 12, 2016, by and among PEDEVCO, BBLN, BHLN, and others, including SHIP (the

“2016 NPA”). The 2016 NPA was negotiated by Dhruv Narain, BAM’s then-Chief Investment

Officer, who also executed the 2016 NPA on behalf of SHIP in his capacity as authorized

signatory for BAM.

       153.    Pursuant to the 2016 NPA, the existing investors, including SHIP, had their

existing Senior Secured Promissory Notes replaced with Amended and Restated Secured

Promissory Notes (“Tranche B Notes”) that were subordinated to Senior Secured Promissory

Notes (“Tranche A Notes”) that PEDEVCO issued to BBLN and BHLN. The 2016 NPA also

increased the size of SHIP’s loan to PEDEVCO from $11,800,000 to $12,585,118.75 (the “SHIP

PEDEVCO Note”) by adding accrued and unpaid interest to the principal. That is, Beechwood

decreased the relative priority of SHIP’s investment position at the same time that it increased

the size of SHIP’s financial commitment in a failing venture.

       154.    At the time of the 2016 NPA, PEDEVCO lacked the capital to extract oil and

natural gas from its properties and thus had no viable means of generating enough funds to repay

both the Tranche A and the Tranche B debt. Because the self-dealing terms of the 2016 NPA

provided for BBLN and BHLN to be repaid in full (including interest) before SHIP would

receive even one cent in repayment of the SHIP PEDEVCO Note, SHIP was set up from the


                                               41
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 42 of 86




outset to lose its entire investment. Worse, having staked out a priority position, BBLN and

BHLN made SHIP’s recovery even less likely in that they failed to fund their commitments fully,

providing only $6.4 million of the $12.5 million promised to PEDEVCO to fund its operations.

       155.    PEDEVCO ultimately acknowledged its inability to repay the Tranche B Notes,

which included the SHIP PEDEVCO Note. SHIP has been forced to take pennies on the dollar

for its interests in the PEDEVCO Note, all because of the actions of Beechwood and the

Individual Defendants, including the subordination of the PEDEVCO Note to the Tranche A

Notes. Beechwood, by contrast, abused its investment management authority and maneuvered to

its favor and SHIP’s detriment such that both BBLN-Pedco and BHLN-Pedco have largely

recovered their principal investments in the Tranche A Notes.

       156.    These PEDEVCO-related transactions, including most egregiously the 2016 NPA

and the purported subordination of the PEDEVCO Note to the Tranche A Notes, constitute a

breach of the IMAs, including the implied covenant of good faith and fair dealing, and of the

fiduciary duties owed by each of the Defendants to SHIP, and evidence Beechwood’s concerted

efforts to defraud SHIP by using SHIP’s assets to enrich and benefit themselves without regard

for and to the deliberate detriment of SHIP.

       iii.    BRILLC-BBIL Note

       157.    The PEDEVCO investment was not an isolated experience. In February 2015,

BRILLC issued a $50 million note to its closely related party, BBIL (the “BRILLC Note”).

BBIL wired $50 million of SHIP’s funds from the BBIL IMA custodial account to BRILLC’s

account at Capital One Bank on February 19, 2015 to fund the BRILLC Note.




                                               42
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 43 of 86




        158.   As BBIL has acknowledged, BBIL holds the BRILLC Note as SHIP’s nominee.

BBIL identified the note as an asset of SHIP on the Wilmington Trust custodial account

statements, beginning in or around February 2015, and BBIL agreed, as discussed below, to

transfer the BRILLC Note formally into SHIP’s name in 2017.

        159.   The BRILLC Note was secured by BRILLC’s assets.            Pursuant to a Pledge

Agreement dated February 19, 2015, BRILLC pledged its equity interests in several funds,

including PPVA and PPCO and other Platinum-related investments, as collateral for the BRILLC

Note.

        160.   The BRILLC Note specified that interest accrued on the outstanding principal of

the note at an annual rate of six percent (6%).

        161.   Interest on the BRILLC Note was payable in cash annually in arrears; payment

was due on April 30 each year, beginning with April 30, 2016.

        162.   To date, BRILLC has not made payment of any principal or interest on the

BRILLC Note. BRILLC thus is in default under the terms of the BRILLC Note and owes the

amounts due to SHIP.

        163.   The terms of the BRILLC Note provide that, upon occurrence of an Event of

Default, the BRILLC Note “shall immediately become due and payable, without notice, together

with reasonable attorneys’ fees.”     Despite this requirement, BRILLC has not satisfied its

obligations under the Note and has not repaid SHIP the $50 Million transferred from SHIP to

fund the principal or any accrued interest. BBIL similarly has not taken any action to collect on

the BRILLC Note or any of the assets pledged by BRILLC.




                                                  43
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 44 of 86




       164.    In 2017, BBIL acknowledged that it held the BRILLC Note for SHIP and thus

agreed to transfer the BRILLC Note to SHIP. BBIL refused, however, to complete the transfer

unless SHIP executed an assignment agreement in a form that was unacceptable to SHIP.

Further, at the time that the draft assignment agreement was proposed by BBIL, SHIP learned

that BBIL had, unilaterally and without SHIP’s knowledge or consent, allowed BRILLC to alter

in a substantial manner the collateral securing the BRILLC Note and had executed an Amended

and Restated Pledge Agreement as of March 31, 2017.

       165.    These self-dealing actions constitute a breach of the IMAs, including the implied

covenant of good faith and fair dealing, and of the fiduciary duties owed by each of the

Defendants to SHIP, and evidence Beechwood’s concerted efforts to defraud SHIP by using

SHIP’s assets to enrich and benefit themselves without regard for and to the deliberate detriment

of SHIP.

       iv.     Agera Energy

       166.    Among the most egregious abuses of Beechwood’s access to SHIP’s funds

involves AGH Parent, LLC (“AGH Parent”), a vehicle through which tens of millions of dollars

of SHIP’s funds were funneled to PPCO and PPVA, while structuring the ownership of the

investment in a highly complex and opaque manner that positioned Defendants and their related

parties to exit their positions in AGH Parent successfully and at a large profit, while leaving

SHIP with illiquid investments of uncertain value.

       167.    An entity known as Agera Energy, LLC (“Agera Energy”) was formed in March

2014 to enable Platinum Partners to acquire surreptitiously the assets of electricity and natural

gas retailer Glacial Energy Holdings Inc. (“Glacial”), which was then the subject of Chapter 11


                                               44
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 45 of 86




bankruptcy proceedings. Platinum Partners was Glacial’s lender and had taken an ownership

stake in the entity when it was unable to repay its debt.

       168.      Shortly after Agera Energy’s formation, Platinum Partners purported to make a

loan to Agera Energy secured by a note that could, at the holder’s option, be converted into

ownership of nearly all of the company’s equity interests. This convertible note, and the equity

rights it represented, would ultimately become the vehicle through which Platinum Partners,

aided by Beechwood, would use investor money – including funds from SHIP – to realize in

excess of $100 million in profits and fees without investing or risking any appreciable amount of

its own funds.

       169.      Specifically, in May 2014, Agera Energy issued a Secured Convertible

Promissory Note (the “Original Note”) to Principal Growth Strategies LLC (“PGS”). On June

11, 2014, the Original Note was amended and restated into a $600,071.23 Secured Convertible

Promissory Note (the “Convertible Note”), which granted PGS the unconditional option to

exchange the Convertible Note for 95.01% of the equity interests in Agera Energy. PGS is

owned 55% by PPVA and 45% by PPCO. It is unknown whether, as with many Platinum

Partners-related company loans, these transactions existed only on paper or whether funds

actually were transferred.

       170.      On June 17, 2014, Michael Nordlicht acquired 100% of the equity in Agera

Energy. At the time of the sale, Michael Nordlicht was a recent law school graduate who

previously had worked as an analyst at Platinum Management for his uncle, Mark Nordlicht. It

is unclear what, if anything, he paid for his interest in Agera Energy.




                                                 45
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 46 of 86




       171.    The next day, on June 18, 2014, Michael Nordlicht sold a 4.99% interest in Agera

Energy to Beechwood Re. It is unclear what, if anything, Beechwood Re paid for that interest.

       172.    Also on June 18, 2014, Beechwood-related entities, including Beechwood Re,

acquired $51.9 million of senior secured debt issued by Agera Energy. SHIP provided $30

million of the $51.9 million loaned. Agera Energy used the loan proceeds to fund its purchase of

Glacial assets for $53 million. Treating the SHIP IMA accounts like Beechwood’s personal

stash of cash, BBIL transferred $30 million from SHIP’s BBIL IMA account to Beechwood Re,

which is identified as the owner of the senior secured debt attributable to SHIP’s payment,

falsely creating the impression that Beechwood Re was the source of the funds that Agera

Energy used to buy Glacial and falsely inflating Beechwood Re’s balance sheet.

       173.    The transaction was reported on SHIP’s IMA account statements as a $30 million

secured term note issued by Agera Energy at 14% interest. SHIP’s principal was repaid by

December 2014, apparently without any accrued interest being paid.

       174.    As a result of this transaction, Platinum Partners and Beechwood essentially

owned Agera Energy, which in turn owned the Glacial assets, without any evidence of having

expended any funds of their own. Instead, they used Beechwood’s access to SHIP’s assets

within the IMA accounts and other investor money to fund the acquisition, but did not provide

any equity stake to SHIP and did not even pay SHIP interest for the use of its funds.

       175.    In April 2015, Platinum and Beechwood needed more capital to buy two smaller

energy retailers and to otherwise fund activities. Once again, Beechwood reached into SHIP’s

pockets, and BAM caused SHIP to loan $14 million to Agera Energy to fund its purchase of




                                                46
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 47 of 86




Energy.me LLC and Lumens Energy Group, LLC. As before, the acquisition loans were repaid

without interest.

        176.      By April 2016, circumstances had become dire for the cash-strapped Platinum

funds. Narain, who had taken the helm as Chief Investment Officer at BAM, began to seek a

buyer for Agera Energy in order to exit the investment. In order to assure that Agera Energy

would be sold at a massive profit that would primarily benefit Beechwood, Platinum, and other

related parties, Narain and the co-conspirators embarked upon a scheme designed to drive up the

value of Agera Energy artificially while funneling tens of millions of investor dollars to the

Platinum funds.

        177.      Working in concert with Platinum, Narain and Beechwood orchestrated the sale

and resale of the Convertible Note to investors, including SHIP, in a series of transactions that

ultimately resulted in the transfer of $65 million in cash and $105 million in other assets to PGS

in order to prop up PPCO and PPVA.              Narain, acting for Beechwood, maneuvered the

transactions as described below so that Beechwood and Platinum entities and insiders received

unearned equity interests in the Agera enterprise, Beechwood retained complete control over

Agera Energy, and the Beechwood, Platinum, and other related parties would essentially siphon

off any profit.

        178.      Specifically, on April 1, 2016, pursuant to an Assignment of Note and Liens (the

“First Repo Agreement”), PGS assigned the Convertible Note to BBIL ULICO 2014 (“BBIL

ULICO”), Beechwood Bermuda Investment Holdings Ltd. (“BBIH”), and BBIL (together, the

“First Repo Assignees”) in exchange for $15 million in cash, of which $2.5 million (representing

16.7%) was funded from SHIP’s BBIL IMA funds. The First Repo Agreement gave PGS the


                                                 47
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 48 of 86




unconditional right to repurchase the Convertible Note by repaying the $15 million purchase

price, plus a fee, by June 15, 2016. The $15 million price did not reflect the value of the

Convertible Note and appears to represent the amount of money that Platinum needed at that

moment to survive, pending a sale of the Agera Energy enterprise.

       179.    PGS did not exercise its repurchase right by the repurchase date or ever repay the

$15 million purchase price. Nonetheless, on May 12, 2016, BAM caused the First Repo

Assignees and a newly formed Beechwood entity, BBLN-Agera Corp. (“BBLN-Agera”), to enter

into an Amended and Restated Assignment of Note and Liens (the “Second Repo Agreement”),

which effectively resold the Convertible Note at a new purchase price of $25 million. This price

included the $15 million previously paid by the First Repo Assignees. The remaining $10

million was paid to PGS by BBLN-Agera. Of that $10 million, $5 million was funded from

SHIP’s BBIL IMA account. These transactions funneled $25 million in new investor money

(including a total of $7.5 million from SHIP) to PGS, and thus to PPVA and PPCO, at a time

when both entities were in the midst of a liquidity crisis and required immediate capital

infusions. Nothing changed with respect to Agera Energy between April and May 2016 that

could justify a $10 million increase in the value of the Convertible Note. The sole driver of the

increase in the purchase price was Platinum’s need for immediate cash.

       180.    The Repo Note transactions were short-term fixes designed to keep funds flowing

to Platinum pending the exit event that Narain was orchestrating. In order to assure large payoffs

to Platinum, Beechwood, and their related parties, on May 31, 2016, Beechwood caused the

formation of AGH Parent to acquire the Convertible Note from PGS for $170 million in new




                                               48
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 49 of 86




cash and investment assets, including substantial equity in AGH Parent while, at the same time,

giving Beechwood control over the operation of AGH Parent and, thus, Agera Energy.

       181.   The $170 million purchase price for the Convertible Note was not supported by

any third-party valuation of the Agera enterprise. In addition, it is unfathomable that the true

value of the Convertible Note could have increased from $15 million in April 2016, to $25

million in May 2016, and then to $170 million in June 2016. Rather, the $170 million purchase

price was negotiated between Narain on Beechwood’s behalf and related party Platinum based

on the needs of Platinum for cash to satisfy demands for investor withdrawals, to support

distressed investments, and to provide the appearance of valuable assets in Platinum funds in

order to stave off the impending insolvencies of these funds. Further, PGS had invested no

money, beyond the initial (at least on paper) $600,071.23 note value in the enterprise. Every

penny of the acquisition of the Agera assets had been funded by Beechwood investors, primarily

SHIP, on terms that were unfair to those investors, who had taken all of the risk. Had the

Beechwood Advisors acted prudently and in SHIP’s best interests, SHIP would have held the

majority of the equity in Agera Energy directly or through the option represented in the

Convertible Note. Instead, having caused SHIP to fund most of the acquisition costs for the

underlying energy assets, as well as two purchases of the Convertible Note, the Beechwood

Advisors, led by Narain, allowed PGS to reclaim “ownership” of the Convertible Note, all in

order to funnel more cash to PGS.

       182.   In an effort to generate new investment dollars for PGS, in May 2016,

Beechwood approached SHIP about investing funds in AGH Parent outside of the IMA

agreements. Beechwood made representations to SHIP regarding the soundness of the proposed


                                              49
        Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 50 of 86




additional investment, assuring SHIP that Beechwood was acting in SHIP’s best interests with

respect to investments in AGH Parent regardless of whether SHIP’s investments were made

through the IMA funds or through new funds from SHIP invested at Beechwood’s direction and

with Beechwood’s advice.

       183.   On June 8 and 9, 2016, Beechwood caused and induced SHIP to enter into a

series of unconventional and complex transactions (the “June 2016 Transactions”) that were

designed to avoid detection of the scheme that appears to have been orchestrated primarily by

Narain on behalf of Beechwood.

        a. Certain Platinum-related distressed assets in accounts under management at
           Beechwood (including SHIP’s accounts) were assigned to AGH Parent pursuant to
           an Assignment Agreement dated June 8, 2016 (the “Assignment Agreement”);

        b. PGS re-acquired the Convertible Note from BBLN-Agera and the First Repo
           Assignees under the Assignment of Secured Convertible Promissory Note dated
           June 9, 2016 (the “Repurchase Assignment”);

        c. The Convertible Note was amended and restated, then sold by PGS to AGH Parent
           for $170,000,000 in cash and non-cash consideration to PGS under a Purchase
           Agreement dated June 9, 2016 (the “PGS Note Purchase Agreement”);

        d. Beechwood caused its investor clients (including SHIP) to contribute cash and non-
           cash interests (primarily in additional distressed Platinum assets) in exchange for B-
           1 Units in AGH Parent valued at $100 per unit pursuant to a Contribution
           Agreement dated June 9, 2016 among AGH Parent and various transferors (the
           “Contribution Agreement”);

        e. AGH Parent was recapitalized under an Amended and Restated Limited Liability
           Company Agreement (the “LLC Agreement”) that gave Beechwood full
           management control of AGH Parent;

        f. AGH Parent issued $51,960,000 of secured notes to various investors (including
           SHIP) pursuant to a Note Purchase Agreement and related documents, in exchange
           for a mix of cash and asset contributions; and

        g. Beechwood entered into a Purchase Option Agreement on behalf of certain
           Beechwood investors (including SHIP) that provided those investors (including

                                              50
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 51 of 86




              SHIP) with a collective option to purchase a 4.99% equity interest in Agera
              Holdings.

       184.    At the closing that occurred on June 9, 2016, AGH Parent paid PGS $65,293,540

in cash; $43,666,460 in scheduled debt and equity instruments, including various debt

instruments then held by SHIP; 3,438 newly issued Class B-2 Units in AGH Parent with an

original value of $2,000,000; and 590,400 Class C Units in AGH Parent with an original value of

$59,040,000. PGS also repaid the $25 million it received under the Repo Note transactions as

the consideration for reacquiring the Convertible Note under the Repurchase Agreement.

       185.    Significantly, AGH Parent reserved a right to redeem a portion of the Class C

Units from PGS in exchange for certain Platinum-related assets that were scheduled and given an

agreed value as part of the transactions. Given the distress of the Platinum fund complex, this

redemption right was included in order to give Beechwood and Platinum insiders a mechanism to

attempt to transfer equity in AGH Parent to themselves in the event that PGS or its owners were

placed into insolvency or receivership proceedings.

       186.    The cash and securities paid to PGS exceeded $55 million, including $50 million

that came from SHIP and was not invested directly through one of the existing IMA accounts.

       187.    In exchange for its direct investment of $50 million in AGH Parent, SHIP

received 350,000 Class A Preferred Units, a B-1 Senior Secured Note issued by AGH Parent in

the principal amount of $15 million, and 5,730 Common Units in AGH Parent as an “equity

kicker.” SHIP also received a $940,000 B-1 Senior Secured Note issued by AGH Parent and a

$5,000,000 interest in BBLN-Agera’s $9,060,000 B-1 Senior Secured Note issued by AGH

Parent from cash and assets contributed through the IMA Accounts.



                                               51
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 52 of 86




       188.    BAM Management Services LLC (“BAM Management”), which is wholly owned

and controlled by Beechwood, was appointed as the Manager of AGH Parent. As such, BAM

Management essentially had complete discretion to manage AGH Parent in exchange for a fee of

$1 million per year. Another Beechwood entity, BAM Administrative Services, LLC (“BAM

Administrative”), which served as the administrative agent for all Beechwood-related debt

investments that Beechwood acquired for the account of SHIP, was appointed as the

administrative agent on the AGH Parent debt.           Thus, between BAM Management and BAM

Administrative, Beechwood possessed complete control over all of SHIP’s interests in AGH

Parent, Agera Energy, and any related entities.

       189.    After giving effect to the June 2016 transactions, SHIP’s total investment in AGH

Parent, Agera Holdings, Agera Energy, and any related entity was approximately $60 million.

       190.    In late July 2016, the relationship between Beechwood and Platinum was first

reported in the press, resulting in pressure on Beechwood Re in particular both to justify its

investment of reserve funds under its various reinsurance agreements with other insurers in

Platinum-related entities and to liquidate investments to demonstrate returns. To that end, on

July 26, 2016, Beechwood caused SHIP to purchase 18,593.80 B-1 Units in AGH Parent from

BBIL-ULICO, an entity that appears to have been set up by Beechwood to invest reserves ceded

to Beechwood Re under a reinsurance agreement between Beechwood Re and one or more long-

term care insurers associated with ULICO Casualty Company. Although these units had been

issued to BBIL-ULICO on June 9, 2016 at a valuation of $100 per unit, Beechwood caused SHIP

to pay $11,323,000 for them, which represents a purported six-fold value increase in just over

one month.


                                                  52
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 53 of 86




       191.      Beechwood sought to avoid detection of this elaborate scheme by brokering a sale

of AGH Parent, which would result in the unwinding of the structure and the repayment of

SHIP’s debt and equity interests, without any significant return for SHIP, but at a substantial

profit to Beechwood, its principals, and its investors. As part of this scheme, AGH Parent

exercised its redemption option with PGS, notifying PGS of its intent to redeem 336,928.93

Class C Units.

       192.      Pursuant to a Purchase Agreement dated November 18, 2016, AGH Parent agreed

to sell the Convertible Note and the 49.9 common units of Agera Holdings for a purchase price

of $315,000,000. The agreement was negotiated by Narain and was executed by Narain on

behalf of AGH Parent and Feuer as Manager of AGH Supplemental. The buyer under this

agreement was a third-party, unrelated acquisition vehicle set up by Bamara LLC. Once Bamara

and its lenders completed diligence on the transaction, however, they declined to close.

       193.      In January 2017, AGH Parent redeemed the Class C Units from PGS.

Immediately thereafter, and in violation of the LLC Agreement, BAM Management caused AGH

Parent to reissue those Class C Units to Beechwood-related entities and various insiders without

adequate consideration, thus seeking to assure that, in the event of a sale of the Convertible Note,

those sums that (following the redemption) would have flowed to SHIP and others would

actually flow to Beechwood-related entities and insiders.

       194.      In or around January 2017, Narain formed Illumin and moved the remaining

Beechwood investment management, operations, and administrative team to Illumin. From that

date, Illumin effectively served as an alter ego to Beechwood, performing the operations and




                                                53
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 54 of 86




agency functions formerly performed by BAM Administrative and the investment management

functions formerly provided by BAM, BBIL, and Beechwood Re.

       195.    In or about June 2017, Beechwood entered into one or more transactions with

affiliates of Eli Global/Global Bankers Insurance Group through which it sold its interests in

various Beechwood entities for, upon information and belief, in excess of $1 billion. Those

assets included interests held by Beechwood in AGH Parent for its own account, as well as for

the account of certain other investors, not including SHIP, thereby allowing Beechwood, its

insiders, and certain Platinum insiders to cash out interests in the Agera enterprise for which they

had invested no funds and had taken no risk, while leaving SHIP with nearly $70 million of

funds tied up in illiquid interests of questionable worth in an entity now controlled by Eli Global.

       196.    These examples illustrate Beechwood’s distorted priorities and misguided

loyalties and show the complex schemes devised and employed to keep SHIP and others in the

dark while SHIP’s assets were being depleted, misused, and converted to Defendants’ benefit

and to SHIP’s detriment. Defendants used SHIP’s funds for their own purposes and without

regard to the purported purposes of the written agreements and without regard for differences

among the various entities and agreements. SHIP’s funds were just new fuel to keep the broad

scheme burning longer.       Defendants’ actions prevented SHIP, among other things, from

discovering the true nature and value of investments made with its assets, denied SHIP the ability

to protect its assets from speculative investments, depletion, and misuse by Defendants.

Defendants further denied SHIP access to full and accurate information about the nature and

performance of the investments, thus preventing SHIP from taking earlier actions to protect itself

and limit the damage being done to it. Defendants caused SHIP to expend significant amounts in


                                                54
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 55 of 86




order to uncover over time the true nature and value of investments made with its assets as well

as additional amounts in an effort to alter or exit investments and otherwise to realize any value

from such investments in mitigation of Defendants’ unlawful acts. The full extent of the harm

caused by Beechwood’s manipulations still is not fully known.

       G.      Revelation of Beechwood’s Misconduct

       197.    SHIP was unaware of and had no reason to suspect Beechwood’s deep ties to

Platinum or the pervasive nature of Defendants’ fraudulent conduct or their failure to perform in

accordance with the IMAs and their fiduciary duties. The truth was not revealed until after news

reports in the summer and fall of 2016 gradually began to expose the nature and extent of

Beechwood’s involvement with and control by Platinum. Murray Huberfeld of Platinum was

arrested on June 8, 2016, and news articles followed, but they did not reveal Platinum’s complex

connections to Beechwood.      The first article to reveal connections between Platinum and

Beechwood was published by the Wall Street Journal on July 25, 2016.

       198.    After its connections to Platinum were identified, Beechwood continued its

pattern of deceiving SHIP.     A July 26, 2016 Beechwood letter to Wegner, SHIP’s CEO,

represented that Beechwood had reviewed investments that Beechwood made involving

Platinum Partners and reassured SHIP that Beechwood has “no reason to believe that either

Beechwood or any of your related portfolios suffered financial harm.”           Beechwood also

continued to tout its “appropriate risk management” and “strong safeguards” for SHIP’s

investments. Beechwood likewise represented to SHIP that it was in the process of, and was

capable of, severing all ties with Platinum. Into the fall of 2016, SHIP continued to be assured

that its investments were secured by appropriate collateral, and Beechwood offered no indication


                                               55
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 56 of 86




that it had favored its own interests and those of its affiliates, including Platinum-related

interests, over SHIP’s.

       199.    In connection with its representation to SHIP that Beechwood was not exposed to

Platinum’s troubles and that SHIP’s investments were not at risk, Beechwood continued to claim

performance fees under the IMAs at least through the fall of 2016. For example, BBIL withdrew

performance fees of $11,291,401 on August 1, 2016 under the BBIL IMA and BAM claimed

$2,755,544.56 in performance fees for the period ending September 30, 2016. While the IMAs

permitted Beechwood to receive quarterly payments based on estimated performance fees,

Beechwood was only entitled to receive performance fees if the investment return on the IMAs

exceeded the 5.85% guaranteed return. With the Platinum funds collapsing, Beechwood knew,

or was grossly negligent in not knowing, that the actual value of the assets in the respective

IMAs was far below the point at which Beechwood was entitled to retain the performance fees it

has taken, much less take additional fees.

       200.    In addition to reassuring SHIP that its investments were secure throughout the

summer and fall of 2016, Beechwood also represented to the Pennsylvania Insurance Department

on August 17, 2016 that SHIP’s portfolio was strongly protected and highly collateralized,

Beechwood was taking “aggressive action” to reduce its exposure to Platinum investments and to

unwind and sever “our limited ties with Platinum,” and the guaranteed returns in SHIP’s IMA

accounts remained secure. This letter reassured SHIP as to the extent of capital and surplus

available for the Beechwood Advisors to “backstop these respective guarantees” to SHIP on its

investments.




                                              56
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 57 of 86




       201.    In or about November 2016, as Beechwood purported to be attempting to assist

SHIP, Beechwood’s in-house counsel proposed to SHIP that the IMAs be terminated, an action

clearly designed to protect the Beechwood Advisors at SHIP’s expense.

       202.    SHIP refused to act on Beechwood’s request, but directed Beechwood to transfer

all cash and short-term investments out of the IMA accounts managed by Beechwood and to

move those assets into SHIP’s custodial accounts at Bank of New York Mellon. SHIP also

instructed Beechwood to transfer all limited partnership and other equity interests in each of the

IMA accounts that were not registered solely in SHIP’s name into SHIP’s exclusive name and

advised Beechwood that it was no longer authorized to act with respect to any asset in which

SHIP possessed a direct or indirect interest, without express direction from SHIP.

       203.    Despite SHIP’s efforts to limit its harm, by November 2016 much of the damage

already was done. Over the course of the next several months, SHIP gradually began to uncover

misrepresentations and omissions by Beechwood and the pervasive cover-up of Beechwood’s

disastrously harmful and unsuitable investment of SHIP assets and its favoring of its own

interests and those of its affiliates over the interests of its client, SHIP.        Beechwood’s

cooperation and release of information to assist SHIP’s damage-control efforts has been, and

remains, intermittent and incomplete. Beechwood continues to advance its interests over SHIP’s

in the resolution and disposition of mutual investments or investments in the same entities. What

SHIP has learned, though still incomplete, demonstrates forcefully Beechwood’s breaches of

each of the IMAs, its bad faith, its breaches of fiduciary and other legal duties owed to SHIP, its

gross negligence, and its intentional misconduct, conspiring, and racketeering with others.




                                                57
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 58 of 86




       E.      The RICO Enterprises

       204.    Beechwood Re, BBIL, BAM, BRILLC, and Illumin are enterprises within the

meaning of the Racketeer Influenced and Corrupt Organizations Act of 1970 (“RICO”).

Moreover, Beechwood – the association-in-fact of Beechwood Re, BBIL, BAM, BRILLC,

Illumin, Beechwood Holdings, Beechwood Investments, and the Beechwood trusts – constitutes

a second RICO enterprise. And the association-in-fact of these entities and their co-conspirators,

including, but not limited to, Feuer, Taylor, Levy, Narain, Nordlicht, Bodner, and others at or

associated with Platinum, constitutes a third RICO enterprise. As set forth in this Complaint, as

well as in the Criminal Indictments and SEC Complaint, Defendants and their co-conspirators

functioned as a unit and conducted the affairs of each of these three RICO enterprises through a

pattern of racketeering activity.

       205.    These RICO enterprises shared common purposes and a structure. The primary

purpose was to use the vehicles of Beechwood Re, BBIL, BAM, BRILLC, and Illumin to obtain

funds from institutional investors, particularly insurance companies, and to use them to enrich

the co-conspirators while furthering their ongoing Ponzi-like scheme, all to SHIP’s detriment.

       206.    Defendants’ and their co-conspirators’ use of the mails and wires of interstate

commerce was integral to their perpetration of their common purposes and fraudulent schemes.

Each of the co-conspirators agreed and committed to participate in these RICO enterprises and

their common purposes and fraudulent schemes through two or more predicate acts of

racketeering activity.

       207.    These RICO enterprises had an ascertainable structure and organization that

existed apart from the predicate acts of racketeering activity, as is demonstrated by: (a) the


                                               58
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 59 of 86




ownership and management structure of Beechwood Re, BBIL, BAM, BRILLC, Beechwood

Holdings, Beechwood Investments, and Illumin; (b) the roles the co-conspirators played in the

establishment of, acquisition of interests in, and operation and management of Beechwood Re,

BBIL, BAM, BRILLC, Beechwood Holdings, Beechwood Investments, and Illumin; and (c)

many of the co-conspirators’ often overlapping roles and positions at Beechwood Re, BBIL,

BAM, BRILLC, Beechwood Holdings, Beechwood Investments, Illumin and the various

Platinum entities. As is demonstrated not only by each of the Defendants’ roles and positions,

but also by the facts set forth in this Complaint, the Criminal Indictments of Levy, Nordlicht,

Huberfeld, and others, and the SEC Complaint, the co-conspirators functioned as a unit, with

each of the Defendants participating in the operation or management of the RICO enterprises and

playing vital roles in directing the enterprises’ affairs through a pattern of racketeering activity.

       208.    On May 25, 2018, a Department of Justice press release announced that Huberfeld

pled guilty to conspiracy to commit wire fraud in connection with at least one aspect of his

Platinum-related activities.

       209.    The co-conspirators’ pattern of racketeering activity has been continuous and

ongoing. The Criminal Indictments and the SEC Complaint confirm the pattern of racketeering,

as it relates to SHIP and other insurers, that commenced at least by 2013 and remains ongoing

and open-ended. For example, Beechwood Re’s and BBIL’s reinsurance relationships with other

insurers appear to be continuing at present, and Beechwood Re still maintains control of

reinsurance trust assets. The predicate acts of racketeering activity are all related, as all are tied

to the enterprises’ central purposes, as identified in this Complaint, and all have had the same or

similar results (e.g., inducing institutional investors such as insurers to entrust assets to


                                                  59
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 60 of 86




Beechwood), participants (e.g., the co-conspirators, including those identified as Defendants in

this action), victims (e.g., SHIP and other insurers), methods of commissions (e.g., deceptive

schemes and promises, misrepresentations, fraudulent concealment of material facts, and over-

valuation of assets), personally profiting Defendants and Platinum-related participants (e.g.,

Nordlicht, Huberfeld, Bodner, Levy, Feuer, and Taylor), and other distinguishing characteristics

such as using Platinum’s designees to serve as Beechwood managers. The predicate acts of

racketeering activity have been an integral part of the enterprises’ regular way of doing business.

                                           COUNT ONE

                                         Breach of Contract
                                          (Against BBIL)

         210.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         211.   SHIP executed three contractually binding IMAs with the Beechwood Advisors.

The BBIL IMA was executed by SHIP and BBIL on May 22, 2014.

         212.   The BBIL IMA guaranteed SHIP an annual investment return equal to 5.85% of

the net asset value of the funds invested by SHIP.

         213.   BBIL breached the BBIL IMA by failing to deliver the promised, guaranteed

investment returns. BBIL further breached the BBIL IMA by failing to protect and return

SHIP’s invested funds or equivalent assets, upon SHIP’s demand.

         214.   Under the BBIL IMA, BBIL was also required to manage SHIP’s assets in a

manner “consistent with the general investment policy, guidelines and restrictions” of BBIL and

SHIP and its other contractual duties.



                                                60
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 61 of 86




       215.    BBIL breached the BBIL IMA by not complying with those investment policies,

guidelines, and restrictions, by placing SHIP funds into investments and related-party

transactions that were highly speculative, not adequately secured, opaque, and not appropriately

disclosed to SHIP, and by failing to have sufficient controls in place to secure SHIP’s interests.

BBIL further favored its own financial interests and those of its affiliates, to SHIP’s financial

detriment, in the manner in which BBIL managed the investment of SHIP’s funds.

       216.    BBIL’s breaches, individually and together, have had the effect of denying SHIP

the guaranteed fruits of the BBIL IMA.

       217.    BBIL’s breaches of the BBIL IMA, individually and together, were intentional

and deliberate, were aimed at the public generally, and evince a high degree of moral turpitude,

demonstrating BBIL’s wanton dishonesty or reckless disregard as to its obligations under the

BBIL IMA.

       218.    BBIL’s actions, omissions, or concealments taken in connection with its duties

under the BBIL IMA were not in good faith, were in violation of the BBIL IMA, and constituted

fraud, willful misconduct, or at the very least gross negligence on the part of BBIL.

       219.    BBIL’s conduct in its failed performance of the BBIL IMA further constitutes a

breach of the implied covenant of good faith and fair dealing that exists in every contract.

       220.    As a result of such breach, SHIP has suffered damages in excess of $75,000.

       221.    Because of the intentional, deliberate, and malicious nature of BBIL’s acts in

breach of the BBIL IMA, as set forth in this Complaint, SHIP is entitled to punitive damages.




                                                61
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 62 of 86




                                         COUNT TWO

                                      Breach of Contract
                                    (Against Beechwood Re)

         222.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         223.   SHIP executed three contractually binding IMAs with the Beechwood Advisors.

The BRe IMA was executed by SHIP and Beechwood Re on June 13, 2014.

         224.   The BRe IMA guaranteed SHIP an annual investment return equal to 5.85% of

the net asset value of the funds invested by SHIP.

         225.   Beechwood Re breached the BRe IMA by failing to deliver the promised,

guaranteed investment returns. Beechwood further breached the BRe IMA by failing to protect

and return SHIP’s invested funds or equivalent assets, upon SHIP’s demand.

         226.   Under the BRe IMA, Beechwood was also required to manage SHIP’s assets in a

manner “consistent with the general investment policy, guidelines and restrictions” of

Beechwood Re and SHIP and its other contractual duties.

         227.   Beechwood Re breached the BRe IMA by not complying with those investment

policies, guidelines, and restrictions, by placing SHIP funds into investments and related-party

transactions that were highly speculative, not adequately secured, opaque, and not appropriately

disclosed to SHIP, and by failing to have sufficient controls in place to secure SHIP’s interests.

Beechwood Re further favored its own financial interests and those of its affiliates, to SHIP’s

financial detriment, in the manner in which Beechwood Re managed the investment of SHIP’s

funds.



                                               62
            Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 63 of 86




         228.   Beechwood Re’s breaches, individually and together, have had the effect of

denying SHIP the guaranteed fruits of the BRe IMA.

         229.   Beechwood Re’s breaches of the BRe IMA, individually and together, were

intentional and deliberate, were aimed at the public generally, and evince a high degree of moral

turpitude, demonstrating Beechwood Re’s wanton dishonesty or reckless disregard as to its

obligations under the BRe IMA.

         230.   Beechwood Re’s actions, omissions, or concealments taken in connection with its

duties under the BRe IMA were not in good faith, were in violation of the BRe IMA, and

constituted fraud, willful misconduct, or at the very least gross negligence on the part of

Beechwood.

         231.   Beechwood Re’s conduct in its failed performance of the BRe IMA further

constitutes a breach of the implied covenant of good faith and fair dealing that exists in every

contract.

         232.   As a result of such breach, SHIP has suffered damages in excess of $75,000.

         233.   Because of the intentional, deliberate, and malicious nature of Beechwood Re’s

acts in breach of the BRe IMA, as set forth in this Complaint, SHIP is entitled to punitive

damages.

                                        COUNT THREE

                                     Breach of Contract
                                 (Against BAM and BRILLC)

         234.   SHIP incorporates each and every allegation above as if set forth fully in this

count.



                                               63
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 64 of 86




       235.    SHIP executed three contractually binding IMAs with the Beechwood Advisors.

The BAM IMA was executed by SHIP and BAM on January 15, 2015.

       236.    The BAM IMA, subject to a Side Letter with BRILLC, guaranteed SHIP an

annual investment return equal to 5.85% of the net asset value of the funds invested by SHIP.

       237.    BAM and BRILLC breached the BAM IMA and Side Letter by failing to deliver

the promised, guaranteed investment returns. BAM and BRILLC further breached the BAM

IMA and Side Letter by failing to protect and return SHIP’s invested funds or equivalent assets,

upon SHIP’s demand.

       238.    Under the BAM IMA, BAM was required to manage SHIP’s assets in a manner

“consistent with the general investment policy, guidelines and restrictions” of BAM and SHIP

and its other contractual duties.

       239.    BAM breached the BAM IMA by not complying with those investment policies,

guidelines, and restrictions, by placing SHIP assets into investments and related-party

transactions that were highly speculative, not adequately secured, opaque, and not appropriately

disclosed to SHIP, and by failing to have sufficient controls in place to secure SHIP’s interests.

BAM further favored its own financial interests and those of its affiliates, to SHIP’s financial

detriment, in the manner in which BAM managed the investment of SHIP’s funds.

       240.    The breaches by BAM and BRILLC, individually and together, have had the

effect of denying SHIP the guaranteed fruits of the BAM IMA and Side Letter.

       241.    The breaches by BAM and BRILLC of the BAM IMA and Side Letter,

individually and together, were intentional and deliberate, were aimed at the public generally,




                                               64
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 65 of 86




and evince a high degree of moral turpitude, demonstrating the wanton dishonesty or reckless

disregard by BAM and BRILLC as to their obligations under the BAM IMA and Side Letter.

        242.    The actions, omissions, or concealments taken by BAM and BRILLC in

connection with their duties under the BAM IMA and Side Letter were not in good faith, were in

violation of the BAM IMA and Side Letter, and constituted fraud, willful misconduct, or at the

very least gross negligence on the part of BAM and BRILLC.

        243.    The conduct of BAM and BRILLC in its failed performance of the BAM IMA

and Side Letter further constitutes a breach of the implied covenant of good faith and fair dealing

that exists in every contract.

        244.    As a result of such breach, SHIP has suffered damages in excess of $75,000.

        245.    Because of the intentional, deliberate, and malicious nature of the acts of BAM

and BRILLC in breach of the BAM IMA and Side Letter, as set forth in this Complaint, SHIP is

entitled to punitive damages.

                                        COUNT FOUR

                                    Breach of Fiduciary Duty
                                 (Against All Known Defendants)

        246.    SHIP incorporates each and every allegation above as if set forth fully in this

count. The term “Known Defendants” in this Complaint is intended to refer to all identified

Defendants, but not John Does 1-10.

        247.    The Beechwood Advisors, as SHIP’s investment advisors, owed fiduciary duties

to SHIP pursuant to the terms of the IMAs and by the nature of the overall relationship of trust

that existed.



                                                65
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 66 of 86




       248.    The Individual Defendants, as the most senior officers of Beechwood responsible

for performance of the IMAs and given the nature of the overall relationship of trust, owed SHIP

fiduciary duties as well.

       249.    Based on Defendants’ assurances that Beechwood would invest SHIP’s assets

prudently, in accordance with all relevant investment guidelines, and consistently with

Defendants’ other representations, and would be able to perform on Beechwood’s guaranteed

contractual returns, SHIP reposed trust and confidence in Defendants.

       250.    Defendants owed SHIP duties of candor, loyalty, and care.

       251.    Defendants breached these fiduciary duties by the acts set forth in this Complaint,

and thus denied SHIP the use and benefit of its invested funds and denied it the guaranteed

contractual returns on those funds or the promised returns on certain specific investments.

Defendants further denied SHIP access to full and accurate information about the nature and

performance of the investments, thus preventing SHIP from taking earlier actions to protect itself

and limit the damage being done to it.

       252.    Defendants’ breaches of their fiduciary duties were intentional and deliberate, and

evince a high degree of moral turpitude, demonstrating Beechwood’s wanton dishonesty or

reckless disregard as to its obligations under the IMAs and Side Letter. At the very least,

Defendants’ actions constitute gross negligence.

       253.    As a direct result of Defendants’ misconduct, SHIP has suffered damages in

excess of $75,000.




                                               66
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 67 of 86




         254.   Because of the intentional, deliberate, and malicious nature of Beechwood’s acts

in breach of its fiduciary duties, as set forth in this Complaint, SHIP is entitled to punitive

damages.

                                         COUNT FIVE

                                  Fraud in the Inducement
                               (Against All Known Defendants)

         255.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         256.   Prior to execution of each of the IMAs and any investments, Defendants

knowingly made numerous false representations of material fact to SHIP, knowing such

statements were false when making them, as detailed in this Complaint, with the intent of

inducing SHIP to enter into the IMAs or any investments.

         257.   Defendants also knowingly omitted and concealed from SHIP material

information, even though Defendants knew such information was material, as detailed in this

Complaint, and they did so with the intent of inducing SHIP to enter into the IMAs or any

investments.

         258.   SHIP was induced to believe that its contributed assets would be invested

conservatively and in investments suitable to an insurer in run-off. SHIP further was induced to

believe that its assets would be invested consistent with SHIP’s best interests and that

Beechwood would not favor its own interests and the interests of its affiliates to SHIP’s

detriment. Beechwood induced SHIP to believe that it would receive guaranteed annual returns

and that Beechwood was capable of producing, and intended to produce, those guaranteed annual

returns.

                                               67
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 68 of 86




         259.   SHIP justifiably relied upon such misrepresentations and omissions or

concealments to its detriment in entering into the IMAs or any investments.

         260.   SHIP has been injured as a proximate result of Defendants’ fraudulent

misrepresentations, omissions, and concealments. Defendants denied SHIP the use and benefit

of the funds it invested through and with Defendants, denied it the ability to invest those funds

consistent with SHIP’s investment policies and guidelines, and denied it the ability to obtain a

reasonable investment return on its invested funds.

         261.   Defendants’ misrepresentations and omissions or concealments in inducing SHIP

to enter into the IMAs and otherwise to invest through and with Defendants were intentional and

deliberate, evince a high degree of moral turpitude, and demonstrate Defendants’ wanton

dishonesty or reckless disregard for the rights of SHIP.

         262.   As a result of Defendants’ conduct, SHIP has suffered damages in excess of

$75,000.

         263.   Because of the intentional, deliberate, and malicious nature of Beechwood’s acts,

as set forth in this Complaint, SHIP is entitled to punitive damages.

                                          COUNT SIX

                                             Fraud
                                (Against All Known Defendants)

         264.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         265.   During as well as before performance under the IMAs or in connection with any

investment, Defendants knowingly made numerous false representations of material fact to



                                                68
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 69 of 86




SHIP, as detailed in this Complaint, with the intent of causing SHIP not to terminate the IMAs or

any investments after they were executed or otherwise interfere with Defendants’ scheme.

       266.    During as well as before performance under the IMAs or in connection with any

investment, Defendants also knowingly omitted and concealed material information from SHIP,

even though they knew such information was material, as detailed in this Complaint, and

Defendants did so with the intent of causing SHIP to continue to invest and not to terminate the

IMAs or any investments or otherwise interfere with Defendants’ scheme.

       267.    SHIP justifiably relied upon such misrepresentations and omissions or

concealments to its detriment by investing, by continuing to invest, and by not terminating the

IMAs or any investments after they were executed, and by not attempting to interfere with or

influence Defendants’ actions.

       268.    SHIP has been injured as a proximate result of each of the Defendants’ fraudulent

misrepresentations and concealments, as set forth in this Complaint.

       269.    Defendants’ misrepresentations and omissions or concealments made with the

intent of causing SHIP to enter into and remain in the IMAs or any investments were intentional

and deliberate, evince a high degree of moral turpitude, and demonstrate Defendants’ wanton

dishonesty or reckless disregard for the rights of SHIP.

       270.    As a result of Defendants’ conduct, SHIP has suffered damages in excess of

$75,000.

       271.    Because of the intentional, deliberate, and malicious nature of Beechwood’s acts,

as set forth in this Complaint, SHIP is entitled to punitive damages.




                                                69
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 70 of 86




                                        COUNT SEVEN

                                     Constructive Fraud
                               (Against All Known Defendants)

         272.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         273.   During as well as before performance under the IMAs, Defendants made

numerous false representations of material fact to SHIP, as detailed in this Complaint, with the

intent of causing SHIP not to terminate the IMAs or any investments after they were executed

and to continue investing through Beechwood.

         274.   During as well as before performance under the IMAs or in connection with any

investment, Defendants also omitted and concealed material information from SHIP, as detailed

in this Complaint, and Defendants did so with the intent of causing SHIP to continue to invest

and not to terminate the IMAs or any investments.

         275.   A fiduciary relationship existed between SHIP and the Beechwood Advisors. As

described above, the Beechwood Advisors, as SHIP’s investment advisors, owed fiduciary duties

to SHIP pursuant to the terms of the IMAs and by the nature of the relationship of trust that

existed.

         276.   A fiduciary relationship also existed between SHIP and the Individual Defendants

who acted on behalf of Beechwood, including the most senior officers of Beechwood responsible

for performance of the IMAs and Narain, who assumed certain responsibilities after the IMAs

had been executed.

         277.   SHIP reposed trust and confidence in Defendants, based on Defendants’

assurances that Beechwood would invest SHIP’s assets prudently, in accordance with all relevant

                                               70
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 71 of 86




investment guidelines, consistently with Defendants’ other representations, and in SHIP’s best

interests. Defendants also assured SHIP that they would be able to perform on Beechwood’s

guaranteed contractual returns and all other promises.

         278.   Because of the nature of the fiduciary relationships, SHIP justifiably relied upon

Defendants’ misrepresentations and omissions or concealments to its detriment by investing, by

continuing to invest, and by not terminating the IMAs or any investments after they were

executed.

         279.   SHIP has been injured as a proximate result of each of the Defendants’ fraudulent

misrepresentations and concealments, as set forth in this Complaint.

         280.   Defendants’ misrepresentations and omissions or concealments made with the

intent of causing SHIP to enter into the IMAs or any investments were intentional and deliberate,

evince a high degree of moral turpitude, and demonstrate Defendants’ wanton dishonesty or

reckless disregard for the rights of SHIP.

         281.   As a result of Defendants’ conduct, SHIP has suffered damages in excess of

$75,000.

         282.   Because of the intentional, deliberate, and malicious nature of Beechwood’s acts,

as set forth in this Complaint, SHIP is entitled to punitive damages.

                                        COUNT EIGHT

                            Violation of RICO – 18 U.S.C. § 1962(c)
                               (Against All Known Defendants)

         283.   SHIP incorporates each and every allegation above as if set forth fully in this

count.



                                                71
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 72 of 86




       284.    Under 18 U.S.C. § 1962(c), it is “unlawful for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.”

       285.    Plaintiff SHIP is a “person” as defined in 18 U.S.C. § 1961(3).

       286.    Each of the Defendants is a “person” as that term is defined in 18 U.S.C. §

1961(3).

       287.    Each of the Defendants was employed by, an owner of, or associated with certain

enterprises: (a) Beechwood Re, BBIL, BAM, BRILLC, or Illumin; (b) Beechwood – the

association-in-fact of Beechwood Re, BBIL, BAM, BRILLC, Beechwood Holdings, Beechwood

Investments, and Illumin; and (c) the association-in-fact of Defendants and their co-conspirators,

including, but not limited to, Nordlicht, Huberfeld, Bodner, and the other Platinum-related

persons.

       288.    Each of these entities or associations-in-fact constitutes an “enterprise” within the

meaning of RICO, 18 U.S.C. § 1961(4). Each of these RICO enterprises had an ascertainable

structure, organization, and common purposes and existed apart from the predicate acts

perpetrated by these Defendants. At all relevant times, each enterprise engaged in, and its

activities affected, interstate commerce.      Each of the Defendants participated directly or

indirectly in the management, direction, or operation of each enterprise.

       289.    As set forth in detail in this Complaint, each Defendant conducted or participated

in the conduct of affairs of each of these three RICO enterprises through a pattern of racketeering

activity, as set forth in 18 U.S.C. § 1961(5). That is, each Defendant knowingly perpetrated and


                                                 72
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 73 of 86




agreed to perpetrate numerous predicate acts of racketeering activity identified under 18 U.S.C. §

1961(1), specifically mail and wire fraud in violation of 18 U.S.C. §§ 1341 and 1343. Each

Defendant knowingly perpetrated and agree to perpetrate two or more acts of racketeering

activity in furtherance of their fraudulent schemes or artifices to defraud, with a specific intent to

defraud SHIP and other institutional investors to enter into investment management agreements

or reinsurance agreements and to obtain money and property by means of false pretenses,

representations and promises.      Predicate acts of racketeering include, but are not limited to,

using the mails and wires of interstate commerce to:

               a) make representations to SHIP, including, but not limited to, the April 10, 2014

               Discussion Document, the BBIL IMA, the Beechwood Re IMA, the BAM IMA,

               and the BRILLC Side Letter, that Defendants would provide secure, highly

               collateralized, and well-protected investments when instead Defendants intended

               to use investment assets to perpetuate a scheme that involved enriching Platinum

               Partners or committing SHIP’s entrusted assets in risky, speculative transactions

               and subordinating SHIP’s interests to those of Beechwood-related entities;

               b) transmit communications, including, but not limited to, the April 9, 2015 Duff

               & Phelps Report and the April 20, 2015 email to Paul Lorentz of SHIP, that

               contained inflated, and in some cases fraudulent, valuations of Beechwood’s

               Platinum Partners-related investments to SHIP and others, and these

               communications in turn were used by Defendants to collect unearned performance

               fees;




                                                 73
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 74 of 86




              c) transmit communications, primarily statements by Feuer and Taylor,

              mispresenting that Beechwood was well capitalized and would prudently invest

              SHIP’s assets, while concealing and affirmatively misrepresenting Beechwood’s

              true ownership structure and purpose;

              d) transmit communications, including the April 10, 2014 Discussion Document,

              that misrepresented the true nature of Beechwood’s management team, while

              concealing its ties to and control by Platinum Partners, Nordlicht, Huberfeld,

              Bodner, and other Platinum-related persons;

              e) orchestrate the use of funds invested by SHIP to acquire highly risky debt

              assets, including, but not limited to, the PEDEVCO Note and 2016 NPA, the 2015

              Montsant NPA and subsequent amendments, and the Agera Energy transactions

              extending through at least 2017, and then subordinate SHIP’s interests to those of

              Beechwood-related entities, thereby enriching Defendants; and

              f) commit similar and related acts of fraud against BCLIC and WNLIC, which

              date back to at latest 2013.

       290.   These predicate acts of racketeering activity are all related, as Defendants have

perpetrated the predicate acts from the common purpose of furthering their fraudulent schemes,

as identified and discussed in detail in this Complaint. Their predicate acts of racketeering

activity have all had common (a) results (furthering their fraudulent schemes to induce

institutional investors such as insurers to entrust assets to Beechwood), (b) participants

(Defendants and their co-conspirators), (c) victims (insurers such as SHIP), (d) methods of

commission (the use of fraudulent and deceptive devices to induce insurers into entrusting their


                                              74
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 75 of 86




assets to Beechwood, the false and fraudulent over-valuation of assets) and (e) other

distinguishing characteristics (such as using Platinum-associated individuals as purported

Beechwood managers).

       291.    The predicate acts of racketeering have also been continuous. Defendants began

perpetrating predicate acts of racketeering in furtherance of their fraudulent schemes by 2013 at

the latest, when they fraudulently executed reinsurance agreements with BLCLIC and WNIC,

and they have perpetrated them continuously for several years.              Defendants began their

racketeering with direct regard to SHIP no later than 2014, when they caused SHIP to execute

the first IMA.     Their predicate acts of racketeering remain ongoing and open-ended, as

Defendants retain millions in funds or assets from and owing to SHIP and other investors, which

Defendants misappropriated and misused over a period of serval years. The predicate acts of

racketeering activity have been an integral part of the enterprises’ regular way of doing business.

Defendants thus have engaged in a “pattern” of racketeering activity, as that phrase is defined in

18 U.S.C. § 1961(5).

       292.    Each Defendant has violated 18 U.S.C. § 1962(c) by conducting or participating

in the conduct of the enterprises’ affairs through a pattern of racketeering activity.

       293.    SHIP has been injured in its business and property by reason and a proximate

result of each of Defendant’s violations of 18 U.S.C. § 1962(c), in at least the following ways:

(a) by being fraudulently induced to enter into IMAs or other investments with Beechwood and

by paying unearned performance fees to Beechwood; (b) by reducing the value of SHIP’s assets

through investments that are speculative, risky, or simply sham transactions, all of which were

made to benefit Platinum; (c) by the need to hire consultants and legal counsel to unwind


                                                 75
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 76 of 86




Beechwood’s improper investments of SHIP assets; and (d) by the need to hire legal counsel and

advisors to pursue SHIP’s claim.

         294.   By virtue of Defendants’ violations of 18 U.S.C. §1962(c), SHIP is entitled to

recover from them three times the damages sustained by reason of the Defendants’ actions, and

others acting in concert with them, together with the costs of suit, including reasonable attorneys’

fees.

                                           COUNT NINE

                            Violation of RICO – 18 U.S.C. § 1962(a)
                               (Against All Known Defendants)

         295.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         296.   Under 18 U.S.C. § 1962(a), it is “unlawful for any person who has received any

income derived, directly or indirectly, from a pattern of racketeering activity . . . to use or invest,

directly or indirectly, any part of such income, or the proceeds of such income, in acquisition of

any interest in, or the establishment or operation of, any enterprise which is engaged in, or the

activities of which affect, interstate or foreign commerce.”

         297.   Each Defendant has received income derived, directly or indirectly, from the

pattern of racketeering set forth above, including, but not limited to: (a) the assets that SHIP and

other similarly situated victims entrusted to Defendants, which assets were used to enrich the

Defendants and closely related Platinum Partners entities and affiliates; and (b) the unearned

performance fees that Defendants collected as a result of the fraudulent valuations provided to

SHIP and other similarly situated victims.



                                                  76
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 77 of 86




       298.    Although Defendants represented to SHIP that they would invest SHIP’s assets

conservatively, Defendants instead used SHIP funds to buy Beechwood-related entities out of

distressed and highly risky investments, including but not limited to the PEDEVCO note. To

make things worse, Defendants subordinated SHIP’s interests beneath their own. This enriched

Defendants and allowed them to perpetuate their Ponzi-esque scheme, which in turn further

injured SHIP and similarly-situated victims of the scheme.

       299.    Defendants used the above-mentioned racketeering income in furtherance of their

RICO enterprises: (a) Beechwood Re, BBIL, BAM, BRILLC, or Illumin; (b) Beechwood – the

association-in-fact of Beechwood Re, BBIL, BAM, BRILLC, Beechwood Holdings, Beechwood

Investments, and Illumin; and (c) the association-in-fact of Defendants and their co-conspirators,

including, but not limited to, Nordlicht, Huberfeld, Bodner, and the other Platinum-related

persons. Each enterprise was engaged in and affected interstate and foreign commerce.         The

racketeering income was reinvested in these enterprises as part of a scheme by Defendants to

perpetuate more injurious and illegal acts.

       300.    Each Defendant’s violation of 18 U.S.C. §1962(a) has directly and proximately

injured SHIP in its business and property in at least the following ways: (a) by being fraudulently

induced to enter into IMAs or other investments with Beechwood and paying unearned

performance fees to Beechwood; (b) by reducing the value of the SHIP’s assets through

investments that were speculative, risky, or simply sham transactions, all of which were made to

benefit Defendants and Platinum; (c) by the need to hire consultants and legal counsel to unwind

Beechwood’s improper investments of SHIP assets; and (d) by the need to hire legal counsel to

pursue SHIP’s claim.


                                                77
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 78 of 86




         301.   By virtue of Defendants’ violations of 18 U.S.C. §1962(a), SHIP is entitled to

recover from them three times the damages sustained by reason of the claims submitted by them,

and others acting in concert with them, together with the costs of suit, including reasonable

attorneys’ fees.

                                           COUNT TEN

                            Violation of RICO – 18 U.S.C. § 1962(d)
                               (Against All Known Defendants)

         302.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         303.   Under 18 U.S.C. § 1962(d), it is “unlawful for any person to conspire to violate

any of the provisions of [§ 1962(a), (b), or (c)].”

         304.   As described in detail in this Complaint, Defendants and their co-conspirators

agreed and conspired with each other to violate 18 U.S.C. §§ 1962(a) and (c).

         305.   The purposes of the conspiracy included obtaining funds from institutional

investors, particularly insurers such as SHIP, via investment management agreements and

reinsurance agreements, taking control of such funds, and using them to further and perpetuate

the co-conspirators’ ongoing Ponzi-esque scheme to enrich Defendants and their co-conspirators

to the detriment of their purported investors.

         306.   Defendants, as co-conspirators, perpetrated and agreed to perpetrate numerous

predicate acts of racketeering activity identified under 18 U.S.C. § 1961(1), specifically mail and

wire fraud in violation of 18 U.S.C. §§ 1341 and 1343. Each Defendant perpetrated and agreed

to perpetrate two or more acts of racketeering activity in furtherance of their fraudulent schemes

or artifices to defraud, with a specific intent to defraud SHIP and other institutional investors to

                                                  78
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 79 of 86




enter into investment management agreements or reinsurance agreements and to obtain money

and property by means of false pretenses, representations and promises. Predicate acts of

racketeering include, but are not limited to, using the mails and wires of interstate commerce to:

               a) make representations to SHIP, including but not limited to the April 10, 2014

               Discussion Document, the BBIL IMA, the Beechwood Re IMA, the BAM IMA,

               and the BRILLC Side Letter, that Defendants would provide secure, highly

               collateralized and well-protected investments, when instead Defendants intended

               to use investment assets to perpetuate a scheme that involved enriching Platinum

               Partners and/or committing SHIP’s entrusted assets in risky, speculative

               transactions, and subordinating SHIP’s interests to those of Beechwood-related

               entities;

               b) transmit communications, including but not limited to the April 9, 2015 Duff &

               Phelps Report and the April 20, 2015 email to Paul Lorentz of SHIP, that

               contained inflated, and in some cases fraudulent, valuations of Beechwood’s

               Platinum Partners-related investments to SHIP and others, which in turn were

               used by Defendants to collect unearned performance fees;

               c) transmit communications, primarily statements by Feuer and Taylor,

               misrepresenting that Beechwood was well capitalized and would prudently invest

               SHIP’s assets, while concealing and affirmatively misrepresenting Beechwood

               Re’s true ownership structure and purpose;

               d) transmit communications, including the April 10, 2014 Discussion Document,

               that misrepresented Beechwood’s management team, while concealing its ties to


                                                79
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 80 of 86




              and control by Platinum Partners, Nordlicht, Huberfeld, Bodner, and other

              Platinum-related persons;

              e) orchestrate the use of funds invested by SHIP to acquire highly risky debt

              assets, including but not limited to the PEDEVCO Note and the Agera Energy

              transactions, then subordinate SHIP’s interests to those of Beechwood-related

              entities, thereby enriching Defendants; and

              f) commit similar and related acts of fraud against BCLIC and WNLIC, which

              date back to at latest 2013.

       307.   Each Defendant’s agreement can reasonably be inferred from the close ties to the

other co-conspirators and their mutually dependent, coordinated efforts to achieve the common

purposes of the co-conspirators and each enterprise. Specifically, the Individual Defendants, as

the primary executives and Chief Investment Officer of Defendants Beechwood Re, BBIL,

BAM, and Illumin, acted in concert with executives of Platinum Partners to create a fraudulent

scheme to attract new, unsuspecting institutional investors, including SHIP, without revealing

that such investors were being committed to investment through Platinum Partners.

       308.   SHIP has been injured in its business and property by reason of the

aforementioned conspiracy, and a proximate result of each of Defendant’s violations of 18

U.S.C. §§ 1962(a) and (c), in at least the following ways: (a) by being fraudulently induced to

enter into IMAs or other investments with Beechwood and paying unearned performance fees to

Beechwood; (b) by reducing the value of the SHIP’s assets through investments that are

speculative, risky, or simply sham transactions, all of which were made to benefit Platinum; (c)




                                              80
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 81 of 86




by the need to hire consultants and legal counsel to unwind Beechwood’s improper investments

of SHIP assets; and (d) by the need to hire legal counsel to pursue SHIP’s claim.

         309.   By virtue of the Defendants’ violations of 18 U.S.C. §1962(d), SHIP is entitled to

recover from them three times the damages sustained by reason of the claims submitted by them,

and others acting in concert with them, together with the costs of suit, including reasonable

attorneys’ fees.

                                       COUNT ELEVEN

                                       Civil Conspiracy
                      (Against All Defendants, Including John Does 1-10)

         310.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         311.   Defendants, acting in concert and as a conspiracy, committed fraud in the

inducement against SHIP by fraudulently inducing SHIP to enter each of the three IMAs and in

turn invest SHIP’s funds pursuant to those IMAs, as well as by causing or inducing SHIP to

entire into other investments.

         312.   Defendants, including John Does 1-10, further conspired to commit fraud in the

performance against SHIP by misrepresenting the nature and performance of SHIP’s

investments, thereby causing SHIP to remain in unsuitable investments that favored the interests

of the co-conspirators and their related parties over SHIP’s best interests and to pay performance

fees as well as continue to invest and not terminate the fraudulently induced IMAs or other

investments.

         313.   At all relevant times, each Defendant was a knowing and intentional participant in

the conspiracy and agreed to pursue its aims.        Defendants were closely related entities or

                                                81
           Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 82 of 86




individuals, with close corporate relationships and common control between the Beechwood

Advisors and the individuals who are Defendants.

         314.   Each Defendant committed one or more overt acts in furtherance of the

conspiracy, including, but not limited to, making fraudulent representations to SHIP concerning

its investment strategy, fraudulently concealing material information from SHIP concerning the

performance of its assets, egregiously and maliciously mishandling the assets that SHIP

entrusted to Defendants, or accepting ill-gotten benefits of the scheme.

         315.   SHIP has been injured as a proximate result of the wrongful acts committed by

Defendants in furtherance of the conspiracy, as set forth in this Complaint.

         316.   As a result of Defendants’ conduct, SHIP has suffered damages in excess of

$75,000.

         317.   Because of the intentional, deliberate, and malicious nature of Beechwood’s acts,

as set forth in this Complaint, SHIP is entitled to punitive damages.

                                       COUNT TWELVE

                              In the Alternative, Gross Negligence
                                (Against All Known Defendants)

         318.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         319.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

         320.   As set forth in this Complaint, SHIP alleges that Defendants conspired with

Platinum and its principals, as well as others, to defraud and harm Plaintiffs, by knowingly and

intentionally participating in a fraudulent scheme to induce SHIP to turn over approximately

                                                82
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 83 of 86




$320 million to be managed by Beechwood for the benefit of Platinum and its principals, and to

bolster and further Platinum’s fraud scheme, which was known to Defendants.

         321.   In the event it is determined that Defendants were unaware that the scheme was

fraudulent and did not conspire intentionally with others to defraud SHIP in the manner set forth,

SHIP asserts this claim for relief for gross negligence.

         322.   Defendants owed SHIP a duty to act with reasonable care in connection with

managing SHIP’s assets.

         323.   Defendants breached that duty of care by, among other things, making imprudent

investments to benefit Platinum, failing to advise SHIP of the reasons for such investments, and

improperly valuing such assets. Defendants’ conduct, as set forth in this Complaint, evinces a

reckless disregard for and indifference to the rights of SHIP and smacks of intentional

wrongdoing.

         324.   As a result of Defendants’ gross negligence, SHIP has sustained substantial losses

in connection with the investments made under the IMAs and through other investments.

         325.   Such gross negligence has actually and proximately caused damages to SHIP, in

an amount in excess of $75,000.

         326.   Because of the reckless or wanton nature of Beechwood’s acts, as set forth in this

Complaint, SHIP is entitled to punitive damages.

                                      COUNT THIRTEEN

                            In the Alternative, Unjust Enrichment
                      (Against All Defendants, Including John Does 1-10)

         327.   SHIP incorporates each and every allegation above as if set forth fully in this

count.

                                                 83
          Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 84 of 86




        328.       As set forth in this Complaint, SHIP alleges that Defendants breached the IMAs

and Side Letter and otherwise received money from SHIP for investment.

        329.       In the event it is determined that the IMAs or Side Letter or other investment

agreements are not enforceable for any reason, or that they do not apply to any Defendant’s

actions, SHIP asserts this equitable claim for relief.

        330.       Defendants, including John Does 1-10, were unjustly enriched, at SHIP’s

expense, when Defendants received and enjoyed the use of SHIP’s invested assets as well as

when they collected Performance Fees in connection with investments that did not comply with

SHIP’s investment guidelines and had not in truth earned the requisite return to merit

Performance Fees. But for Defendants’ improper conduct, those amounts never would have

been paid to Beechwood and Defendants, and equity and good conscience militate against

permitting any of the Defendants to retain those amounts, and other amounts they have

personally received as a result of the IMAs or other investments.

        331.       SHIP is entitled to restitution or other recoverable damages in an amount to be

proven at trial.




                                                  84
         Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 85 of 86




                                     PRAYER FOR RELIEF

       WHEREFORE, SHIP respectfully demands judgment in the amount of actual damages

proven at trial, including all direct or consequential damages, treble damages pursuant to 18

U.S.C. § 1964 (RICO), punitive damages under state law, damages for diminution of value, and

restitution, plus all applicable interest, attorneys’ fees, costs of suit, and such other and further

relief as this Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs demand a trial by jury on all issues so triable.




                                                 85
Case 1:18-cv-06658-JSR Document 1 Filed 07/24/18 Page 86 of 86
